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 Joyce W. Lindauer
 State Bar No. 21555700
 Joyce W. Lindauer Attorney, PLLC
 1412 Main Street, Suite 500
 Dallas, Texas 75202
 Telephone: (972) 503-4033
 Facsimile: (972) 503-4034
 ATTORNEYS FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                             §
                                                    §
 2999TC ACQUISITIONS, LLC,                          §            CASE NO. 21-31954-hdh11
                                                    §
         DEBTOR.                                    §            CHAPTER 11

      2999TC ACQUISITIONS, LLC’S EMERGENCY MOTION TO EXTEND TIME
                         AND MOTION TO COMPEL

 TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

         COMES NOW 2999TC Acquisitions, LLC (f/k/a MO2999 TC, LLC), Debtor in the above

 styled and numbered case (“Acquisitions” or “Debtor”), and files this, its Emergency Motion to

 Extend Time and Motion to Compel, collectively this “Motion”), and would show the Court the

 following:

                 I. NATURE AND PROCEDURAL POSTURE OF THE CASE

         1.      The Debtor filed its voluntary petition commencing its Chapter 11 bankruptcy case

 on October 29, 2021.

         2.      Debtor sought to resolve its disputes with HNGH, Vipin Nambiar and HN Green

 Hollow Capital Partners, LLC pursuant to that certain Agreed Order [Doc. 64] Regarding Motion

 to Lift Stay [Doc. 10], Motion to Dismiss [Doc. 9], Motion for Sanctions [Doc. 15]and Motion to

 Enforce Stay [Doc. 14], signed by the Court December 10, 2021 (the “Agreed Order”,

 constituting a “Contracted Settlement Agreement”, and as such, and at times herein so called).


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 The Agreed Order, as amended by March 17, 2022 Agreed Order Modifying Order on Motion to

 Dismiss and For Relief from Stay [Doc. 94], provides in pertinent part: for a Payoff Amount

 (under seal), to be paid by Debtor to HNGH on or before the Payoff Deadline (May 30, 2022,

 extended to May 31, 2022, as the former being a holiday), and a “rescission deed” to be held by

 counsel for HNGH, which upon the Payoff Event and filing thereof, the special warranty deed to

 HNGH and recorded in the Dallas County property records by HNGH (hereafter, “Deed”) “shall

 be deemed rescinded and avoided” and “(Debtor) shall retain all title to the Property.”       The

 Adversary was dismissed. An issue also arose over whether the state court guaranty suit should

 have also been dismissed which HNGH refused to dismiss even though they were made aware that

 this was creating a hurdle to obtaining financing.

                               II. FACTUAL BASIS FOR MOTION:

         3.      Debtor contends that HNGH has failed to do all that it needs to do to satisfy its

 obligations under the Contractual Settlement Agreement and Agreed Order thus frustrating the

 Debtor’s ability to perform thereunder; as more fully set forth herein. Debtor contends that

 HNGH’s required performance is spelled out in detail in the letter sent by the Debtor’s counsel to

 HNGH’s counsel on May 30, 2022 attached hereto as Exhibit “1” and incorporated herein by this

 reference as if set forth in full for all purposes.

         4.      In addition, Debtor has now come to believe that HNGH, together with its control

 person(s), understood to be members of one of the most prominent and powerful families in the

 State of Texas, and certainly the Dallas business community, have sought to and indeed interfered

 with the Debtor’s actual and prospective contractual relations with one or more third party debt

 and/or equity sources, with the intent and effect of frustrating and otherwise precluding the

 Debtor’s ability to perform thereunder; as more fully set forth herein below.



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         5.      Despite the potential and anticipatory contractual breaches and tortious interference

 that the Debtor contends exist, it has arranged both contractual (and prospective contractual)

 commitments for the necessary debt and or equity funds to source the Payoff Amount; provided

 that (a) HNGH delivers to the title company as escrow agent a rescission deed in form and

 substance so that Debtor may in turn deliver good and marketable title to the Property, for review

 and approval by their respective real estate counsel prior to funding, and (b) HNGH additionally

 delivers to the title company as escrow agent other items customarily requested and required in

 commercial real estate transactions such as this in Dallas County, Texas, including but not limited

 to a Bills Paid Affidavit, requested and required to satisfy the title insurer and the debt and or

 equity sources that there have been no intervening liens or potential “gap” lien claimants, and/or

 (c) HNGH agrees to reasonably extend (or the Court order such an extension of) the Payoff

 Deadline to allow for time to resolve the above, and for one particular lender, namely First

 Guaranty Bank (whose loan committee has approved to make a loan to substantially fund the

 Payoff Amount) to complete its requested third party review of status of title (in light of the

 previously recorded Deed recording by HNGH that is a subject of this proceeding).

         6.      When recently requested for such a rescission of the Deed instrument, that is the

 subject hereof, HNGH, by and through counsel, refused to provide the required instrument and

 instead insisted on a form of “special warranty deed” which contained conflicting language with

 the purpose of such a deed and which added a deed restriction in favor of HNGH. It was not until

 the day of the filing of this motion, after running out the clock on Debtor’s time to fund the Payoff

 Amount, that HNGH finally agreed to provide a form of a rescission of deed that is at least

 somewhat more consistent with the terms of the Agreed Order and applicable state law. Obviously

 as experienced real estate professionals, HNGH knows there are certain implied obligations in



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 closing such a transaction and they know that no third party will fund the financing of the Payoff

 Amount or incur the costs to fund over tens of millions of dollars an escrow account in preparation

 of closing on the payoff of the debt if the proper instruments and documents necessary to close are

 not held in escrow. Keep in mind, such funds are not sitting in some checking account and

 typically have to be converted into some sort of liquid asset which incur transaction costs and loss

 of daily interest (even at 4% this would result in the loss of multiple thousands of dollars per day).

 However, HNGH, has to date refused to extend the Payoff Date to provide the time now needed

 to complete review of the revised form including consent of the title company and Debtor’s

 funding source including their counsel and thereafter to provide sufficient time to fund the Payoff

 Amount into escrow in preparation for closing, additional time made necessary in part by

 (i) HNGH’s failure to consent to provide the ordered instruments and make the required deliveries

 in advance, (ii) HNGH’s breach of the Agreed Order or alternatively, HNGH’s anticipatory breach

 of the Agreed Order, and (iii) HNGH’s tortious interference.

         7.      More particularly, attached as Exhibit “2”, is a copy of the Term Sheet as approved

 by First Guaranty Bank. The loan officer of First Guaranty Bank recently had a discussion with

 HNGH, by and through counsel, to whom such loan officer confirmed his bank’s commitment to

 make the loan, and its need for additional time to complete its third party review of title (which

 based on Exhibit “1” is a mess, due in part to the filing of the contested Deed) to which HNGH

 responded, that it would only do what is specifically stated in the order unless the Court ordered

 them to do otherwise including to allow additional time. HNGH’s counsel also told the bank

 officer that the Debtor and its representatives were bad actors which did not help facilitate the

 closing of the deal or the obtaining of a loan.




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         8.      Exhibit “1” sets forth in some detail why the “Special Warranty Deed” first

 proffered by HNGH needed to be made more consistent with the Agreed Order and Texas real

 property law (which provides that the goal of rescission is to avoid the contract and in this case,

 the Deed, from its inception, placing the parties in the position they occupied before the ….

 instrument was executed. Ginn, 472 S.W.3d at 837; see Hunt County Oil Co. v. Scott, 67 S.W.

 451, 452 (Tex. Civ. App.—1902, writ ref’d). (emphasis added). A special warranty deed “conveys

 the land itself" which is completely contrary and in conflict with a rescission of a deed.

 Chesapeake Exploration, L.L.C. v. Dallas Area Parkinsonism Soc'y High Plains Div. Inc. No. 07-

 10-0397-CV at 6 (Tex. App. – Amarillo 2011). Thus the language proffered by HNGH in the

 special warranty deed is in direct conflict to a rescission likely resulting in a title defect and

 objection by a title company to insuring good title in the future. Furthermore, such a purported

 conveyance under the special warranty deed could create future tax issues such as resetting the

 basis in the Property and causing the Debtor to incur income tax on a future sale of the property

 instead of capital gains tax. Such letter made additional legitimate requests, each supported with

 adequate explanation, that the proffered instrument need not include a copy of the deed being

 rescinded, and should not include a copy of the Agreed Order. And further objected to a narrow

 use restriction sought to be imposed now by HNGH upon the Property which only they would be

 able to release in the future, despite the fact that such was not of record prior to the recordation of

 the Deed. Such a restriction serves to reduce the market value of the Property and hinder Debtor’s

 ability to sell or otherwise develop the Property in the future and thus gives HNGH leverage over

 Debtor in the future which could be used to extract further payments for the release of the

 restriction or used to acquire the Property for themselves including reselling the Property without




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 the restriction at a higher price. Thus, the attempted inclusion of the restriction is in direct

 opposition to the purpose and intent of a “rescission”.

         9.      Further, attached as Exhibit “3” is a Rescission of Deed instrument, as requested

 by Debtor, and counsel to its funding source therein, which remedies many of the objectionable

 provisions of the originally proffered Special Warranty Deed.

         10.     Further, Exhibit “1” describes the additional items to be delivered by HNGH to the

 title company as escrow agent as customarily requested and required in commercial real estate

 transactions such as this in Dallas County, Texas (the “HNGH Deliverables”), including but not

 limited to the above referenced Bills Paid Affidavit, as well as other instruments typically required

 by the title insurer in order to satisfy the title insurer that all Schedule C Requirements are satisfied,

 as a condition precedent to the issuance of clear and marketable title to the purchaser, and further

 to confirm the requisite authority of the parties executing the instrument(s) in satisfaction of the

 Requirements, and the closing documents generally. In response thereto, HNGH, by and through

 counsel, has requested that such Deliverables be limited to those it believes are necessary to close

 this transaction. The parties agreed to work together to facilitate a payoff to HNGH through the

 vehicle of a new loan.       It is implicit in that transaction that detailed loan documents and

 corporate/authority documents and necessary affidavit(s) would be needed to complete such

 transaction to satisfy title requirements, as well as the reasonable requirements of any new lender,

 purchaser or its investor.

         11.     More particularly, HNGH’s prior failure to deliver a rescission of the Deed in

 conformity with the Agreed Order, and applicable Texas law, which requires that the parties be

 placed in the position they occupied before the disputed Deed was recorded, is a clear first and




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 material breach of the Agreed Order, and the parties’ Contractual Settlement Agreement; which

 has caused the desired Closing to be delayed.

         12.     Second, HNGH’s failure to deliver any one or more of HNGH’s Deliverables to the

 title company as escrow agent as customarily requested and required in commercial real estate

 transactions such as this in Dallas County, Texas, constitutes a further breach and/or anticipatory

 breach of the Agreed Order, and the parties’ Contractual Settlement Agreement; which, again, has

 caused the desired Closing to be delayed.

         13.     Third, and more particularly, HNGH’s failure to deliver a release of a certain

 Collateral Transfer of Note and Lien by HNGH to Happy State Bank, in form reasonably requested

 by Debtor, is, too, a further first and material breach of the Agreed Order, and the parties’

 Contractual Settlement Agreement, as such is necessary to clear title to the Property; which failure

 has caused and is continuing to cause the desired Closing to be delayed.

         14.     Fourth, as part of an earlier attempt to resolve the disputes herein, HNGH agreed

 to dismiss a pending state court action brought against Mr. Timothy Barton, one of the principals

 of the Debtor. To date that dismissal has not yet been filed by HNGH, in contravention of such

 earlier agreement, and moreover, with the evident intent and effect of further delaying or

 precluding the Debtor from sourcing the Payoff Amount and performing its obligations under the

 Agreed Order, as the mere pendency of such suit constitutes a cloud over Mr. Barton and his ability

 to source the anticipated debt and or equity funds; which failure by HNGH has caused the desired

 Closing to be delayed.

         15.     More particularly, Debtor asserts, on information and belief, that HNGH has on one

 or more occasion made false and otherwise actionable statements to third parties, which with

 whom Debtor had actual and/or prospective contractual relations so as to source the necessary



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 third party debt and/or equity, with the intent and/or effect of frustrating, tortiously interfering and

 otherwise precluding Debtor’s ability to perform under such contracts and/or prospective contracts

 and tortiously interfering with Debtor’s prospective contracts and/or contracts including lender(s)

 who are now or were at one time committed to advance a substantial amount of debt and/or equity

 funds in order to effectuate the Payoff Event respecting the Property, and funding sources who are

 now or were at one time committed to advance a substantial portion of the equity necessary to

 effectuate the Payoff Event respecting the Property.

         16.     HNGH’s statements have at times included that the Debtor and associated

 principals have made false statements to them, are not trustworthy, cannot and will not perform

 their contractual obligations, are not credit-worthy, will fail with respect to the Property, that such

 person should not do business with the Debtor and related persons, but rather simply wait until

 HNGH and related persons have taken title to the Property and then, instead do business with

 HNGH respecting the Property, and other statements each of which made with the intent to

 interfere with such recipient’s actual and or prospective contractual relations with Debtor, and each

 with the intent and/or effect of frustrating and otherwise precluding Debtor’s ability to perform,

 and each without legal excuse or justification.

         17.     Debtor contends that but for such statements, it would be in a position to more fully

 perform its obligations under the Agreed Order. More particularly, Debtor contends that: (1) it

 has or had an actual contractual relationship and/or a reasonable probability that the Debtor would

 have entered into a business relationship; (2) an independently tortious or unlawful act by HNGH

 that interfered with such contractual relation or prevented the relationship from occurring; (3)

 HNGH did such act with a conscious desire to interfere with the relation or prevent the relationship

 from occurring or HNGH knew the interference was certain or substantially certain to occur as a



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 result of the conduct; and (4) that Debtor has suffered actual harm or damages as a result of

 HNGH’s conduct. Debtor recognizes that such claims and related claims and causes of action are

 better presented in a complaint that may be filed against those who have participated in frustrating

 the transaction between the Debtor and HNGH. For purposes of this Motion the Debtor seeks the

 relief described herein.

                                    III. PRAYER FOR RELIEF
     WHEREFORE, PREMISES CONSIDERED, Debtor respectfully requests, for the reasons

 stated herein, that the Court enter an Order as follows:

         1)      Compelling HNGH to deliver all documents needed to close the transaction
                 contemplated by the Orders entered by this Court as described in Exhibit “1;”

         2)      Extending the Payoff Deadline to no sooner than thirty (30) days following the title
                 company’s receipt as escrow agent of the last of the HNGH Deliverables, as
                 provided herein, as evidenced by title company’s written confirmation of receipt of
                 such; to allow for adequate time for counsel to the title insurer, purchaser and or its
                 investor, to review and approve such;

         3)      Such other and further relief in law or in equity to which Debtor/Debtor may show
                 itself entitled,

         Dated: May 31, 2022

                                                     Respectfully submitted,

                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer
                                                     State Bar No. 21555700
                                                     Joyce W. Lindauer Attorney, PLLC
                                                     1412 Main St., Suite 500
                                                     Dallas, Texas 75202
                                                     Telephone: (972) 503-4033
                                                     Facsimile: (972) 503-4034
                                                     Email: joyce@joycelindauer.com
                                                     ATTORNEY FOR DEBTOR




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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 31, 2022, a true and correct copy of the
 foregoing document was served via email pursuant to the Court’s ECF system upon the parties
 receiving electronic notice in this case listed below.

 Katherine T. Hopkins
 katherine.thomas@kellyhart.com

 John J. Kane
 jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

 Sherrel K. Knighton
 Sherrel.Knighton@lgbs.com, Dora.Casiano-
 Perez@lgbs.com;Sean.French@lgbs.com;Dallas.Bankruptcy@lgbs.com

 Joyce W. Lindauer
 joyce@joycelindauer.com,
 dian@joycelindauer.com;deann@joycelindauer.com;12113@notices.nextchapterbk.com

 Steven C. Metzger
 smetzger@pmklaw.com

 Russell Hale Neilson
 hneilson@parkinslee.com, hneilson@ecf.courtdrive.com

 United States Trustee
 ustpregion06.da.ecf@usdoj.gov

 Kyle Woodard
 kwoodard@krcl.com, KWoodard@ecf.courtdrive.com


                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer




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                                             Attachments:

 Exhibit “1”             copy of a letter recently directed to HNGH, by and through its counsel,
                         listing the need for the HNGH Deliverables.

 Exhibit “2”             copy of the Term Sheet as approved by First Guaranty Bank.

 Exhibit “3”             Rescission of Deed instrument, as requested by Debtor, and counsel to its
                         purchaser and/or investor therein.

 Exhibit “4”             Redline version of Rescission of Deed instrument, as requested by Debtor,
                         and counsel to its purchaser and/or investor therein.

 Exhibit “5”             Happy State Bank Payoff – for Collateral Assignment of Note and Lien
                         resolution

 Exhibit “6”             Email from Julie Lyssy at Sendera Title requested Assignment from Axos
                         Bank to 2999 Turtle Creek LLC

 Exhibit “7”             Lender letter

 Exhibit “8”             Declaration of Timothy Barton

 Exhibit “9”             Declaration of Joey Howell




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                           EXHIBIT “1”
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                            JOYCE W. LINDAUER ATTORNEY, PLLC
                                      Attorney & Mediator
                                   1412 Main Street, Suite 500
                                       Dallas, Texas 75202
                                 Email: joyce@joycelindauer.com


 Telephone No.                                                                        Facsimile No.
 (972) 503-4033                                                                       (972) 503-4034


                                               May 30, 2022

 Via Email
 To John Kane

 Re:    File 2201814-VVJA 2999 Turtle Creek Blvd, Dallas, TX Closing Documents

 John, please confirm the following matters to ensure that title to the Property is clear, and particularly,
 not encumbered by any of the filings by the lender parties, and as such must be delivered or caused
 to be delivered by your client, HNGH (and in some instances, possibly third parties):

 1.0    THE RECISSION OF DEED (fka SWD)

 1.1    Rescission of Deed

 1.2    In connection with the above, a standard form Bills Paid and Parties in Possession Affidavit
        of HNGH.

 2.0    THE DEED OF TRUST

 2.1    Release of the Deed of Trust, by HNGH;

        a. Deed of Trust, Security Agreement and Fixture Filing dated as of September 20, 2019, by
           MO 2999TC, LLC in favor of Michael B. Massey, as Trustee for the benefit of 2999 Turtle
           Creek LLC, recorded in the Office of the County Clerk for the County of Dallas, State of
           Texas, on September 23, 2019 as Instrument No. 201900253450 as assigned to HNGH
           Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of Deed of Trust and
           Assignment of Leases and Rents recorded on December 8, 2020 under instrument number
           202000341904.

 2.2    Related to the immediately above, a Release of the prior collateral assignment of the Note and
        Deed of Trust and all Loan Documents fbo of Axos, to be signed by Axos, and other
        confirmation that Axos has no legal or equitable interest in the Note and Deed of Trust or
        other Loan Documents that were collaterally assigned (including Assignment of Leases and
        Rents);



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 2.3   Release of the prior collateral assignment of the Note, Deed of Trust, and Assignment of
       Leases and Rents (3 documents) fbo of Happy State Bank, to be signed by Happy State Bank,
       and other confirmation that Happy State Bank has no legal or equitable interest in the Note
       and Deed of Trust;

 2.4   Release of Assignment of Leases and Rents dated as of September 20, 2019, by MO 2999TC,
       LUC for the benefit of 2999 Turtle Creek LLC, recorded in the Office of the County Clerk for
       the County of Dallas, State of Texas, on September 23, 2019 as Instrument No. 201900253451
       as assigned to HNGH Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of
       Deed of Trust and Assignment of Leases and Rents recorded on December 8, 2020 under
       instrument number 202000341904.

 2.5   Release of prepaid interest agreement to Madison (and release by HNGH if it was assigned).

 3.0          UCC FILING(S)

 3.1   Release of the UCC, by HNGH (county and state)

 3.2   Related to the immediately above, a Release of the prior assignment of the UCC fbo of Axos,
       to be signed by Axos, and other confirmation that Axos has no legal or equitable interest in
       the UCC filing;

 3.3   Termination of Loan participation agreement, executed by each of the parties thereto, and or
       other confirmation that the Loan participation agreement has been terminated, and is no longer
       of any force or effect

 3.4   Release of whatever agreement Axos signed to permit the participation agreement (See
       excerpt from an email during negotiations between Madison and HNGH at the end)

 3.5   Release of the prior collateral assignment of the UCC fbo of Happy State Bank, to be signed
       by Happy State Bank, and other confirmation that Happy State Bank has no legal or equitable
       interest in the UCC filing;

 4.0   NOTE

 4.1   The original Note, marked paid in full; delivered to title company to make sure original is
       provided. .

 5.0   AUTHORITY OF LENDER ENTITIES

 5.1   In connection with the above, Secretary or other Officer Certificate of HNGH, including
       copies of the governing documents of HNGH, and including consent resolutions of the
       director and or managers, and the consent of the shareholders and or members, to the execution
       and delivery of each of the above referenced closing documents,




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 5.2   Ratification of all prior acts and Consent of HN Green Hollow Capital Partners executed by
       Jim Glasgow who is the manager – he is the one that executed the participation agreement, so
       anything related to that agreement needs to especially come from him in addition to HN
       Capital Partners, LLC.

 5.3   In connection with the above, Secretary or other Officer Certificate of Axos, including copies
       of the governing documents of Axos, and including consent resolutions of the director and or
       managers, and the consent of the shareholders and or members, to the execution and delivery
       of the Axos documents;

 5.4   In connection with the above, Secretary or other Officer Certificate of Happy State Bank,
       including copies of the governing documents of Happy State Bank, and including consent
       resolutions of the director and or managers, and the consent of the shareholders and or
       members, to the execution and delivery of each of the above referenced closing documents
       executed by HSB; together with confirmation, together with confirmation that Happy State
       Bank (a) is and remains the holder of the collateral assignment from HNGH and that Happy
       State Bank has not further sold or encumbered the collateral itself, which they apparently had
       the right to do under the Collateral Assignment), and (b) authorized and consented to and or
       ratified HNGH’s execution and delivery of the Order, as well as the Rescission of Deed.

 5.5   Everything executed by HNGH should be executed by HN Green Hollow as the sole member
       or otherwise consented to by sole member and not just executed by Vipin

 5.6   Need assurance Madison assigned the guaranties to HNGH as they asserted.

 5.7   Also, HNGH was intervenor in the guaranty case so Madison is still a party - both will have
       to dismiss w prejudice.

 5.8   Check if Madison assigned all the loan docs to HNGH not just the recorded documents.

 5.9   Look at the collateral assignment to HSB to be sure HNGH even had the authority to do what
       they did including agreeing to the BK order.

 6.0   LITIGATION AND MATTERS

 6.1   Dismissal of the Guaranty litigation, with prejudice provided to the Guarantor

 7.0   GENERALLY

 7.1   Sequencing Agreement, and or Joint Closing Instructions, respecting the effect and timing
       each of the above instruments, to be signed by HNGH, Debtor (Seller), and purchaser, either
       directly or by and through counsel.

 7.2   If any potential lenders/investors on our side are exposed or names are released, John Kane to
       sign agreement that neither he nor HNGH have communicated with them.


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 John, please specifically confirm which of the above items have already been delivered to the Title
 Company (and provide me with copies of such please for review), and when the balance of the items
 will be delivered, in advance of the closing.


 Thank you.

 Joyce Lindauer

 Cc: Client




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                           EXHIBIT “2”
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                            COMMITMENT LETTER
 TO:    Enoch Investments, LLC
        c/o Randy Marx, Esq
        The Marx Firm, LLC
        2999 Turtle Creek Blvd.
        Dallas, Texas 75219
        randy@themarxfirm.com.

        The foregoing Commitment represents the representation of First Guaranty Bank that it
 has committed to lend on the following terms:

         Borrower:                   Enoch Investments LLC

         Guarantors:                 The TLB 2012 Irrevocable Trust Dated March 16, 2012;
                                     Timothy Lynch Barton; Maximilien Enoch Barton; D4FR
                                     LLC; D4DDS LLC; D4IN LLC; D4OP LLC

         Purpose:                    Loan to Purchase 2.473 Acres of Land and Office Building
                                     located at 2999 Turtle Creek Blvd, Dallas, TX 75219

         Loan Amount:                $33,840,000

         Collateral:                 Perfected First Lien on approx. 2.473 acres of land and
                                     improvements at 2999 Turtle Creek Blvd, Dallas, TX
                                     75219

 Terms for Commercial Real Estate Loan:

         Rate:                       Variable Rate using Wall Street Journal Prime Rate
                                     Currently at 4.00% + 1% Margin and the rate is floating
                                     daily; Floor Rate of 5%

         Amortization:               6 months IO followed by 240 Months P&I amortized

         Repayment term:             6 Months Interest Only Payments. 240 Months Principal and
                                     Interest Payments after initial Interest Only Period. Monthly
                                     Escrow of Taxes and Insurance

         Fees:                       1% Origination Cash at closing; 2% Origination
                                     Fee if financed; $350 Document Fee

         Prepayment:                 3% Prepayment Penalty

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 Closing Checklist:

         Pre Closing:              Verification of Funds used for Equity Injection

                                   Satisfactory receipt of documentation showing that any
                                   outstanding liens and d judgements reported on background
                                   check for Timothy Barton have been cleared/released

                                   Signed and Dated Personal Financial Statement for
                                   Guarantor(s)

                                   Attorney Review of Borrower Ownership Structure,
                                   including authority, Trust powers, Trustee Duties, and
                                   Relationship to the Borrowing Entity

                                   Full Title Exam on Building and Land; Third Party
                                   Attorney Review of Transaction

         Recurring Covenants:      Quarterly Company Prepared Financial Statements for
                                   Enoch Investments LLC to be provided to FGB

                                   Audited Annual Financial Statements for Enoch
                                   Investments LLC to be provided to FGB

       Estimated Closing Date:     The estimated date of closing is 10 (ten) business days from
                                   the Acknowledgement Date of this Commitment, subject to
                                   any additional time identified in order to obtain good title,
                                   insurance, legal review, or other common and ordinary
                                   needs identified by First Guaranty Bank to complete
                                   closing.

                        [[[[REST OF THIS PAGE INTENTIONALLY BLANK]]]]




 Commitment Letter – Enoch Investments LLC                                           Page 2 of 3
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                                       SIGNATURE PAGE
       FIRST GUARANTY BANK

        BY: /s/ Jordan Montgomery Lewis ___

        Its:   _Texas Area President         _

               _Jordan Montgomery Lewis_________


        BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS
        COMMITMENT. BORROWER ACCEPTS AND AGREES TO THE TERMS OF THE
        COMMITMENT AS OF ____5/27/22___________________.

        BORROWER:           Enoch Investments LLC

        By:    _______________________ (Signature)

        Its:   _______________________ (Title)

               _______________________ (Printed Name)

        Date: _______________________




 Commitment Letter – Enoch Investments LLC                                    Page 3 of 3
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                           EXHIBIT “3”
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
YOU MAY REMOVE OR STRIKE OUT ANY OF THE FOLLOWING
INFORMATION FROM THIS INSTRUMENT BEFORE IT IS FILED FOR RECORD
IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVERS LICENSE NUMBER

                                    AGREED RESCISSION
                                               OF
                                SPECIAL WARRANTY DEED
                              (Instrument number 2021 003 271 72
      recorded in the real property records of Dallas County, Texas on November 1, 2021)


THE STATE OF TEXAS
                                                 KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF DALLAS

       WHEREAS Turtle Creek Dickason, Ltd conveyed certain property located at 2999 Turtle
Creek Blvd, Dallas, Dallas County, Texas as further described on Exhibit A and incorporated
herein including all improvements (“Property”) to 2999TC Acquisitions, LLC, f/k/a MO
2999TC, LLC, a Delaware limited liability company, as evidenced by the Special Warranty Deed
executed on September 20, 2019 and recorded on September 23, 2019 as instrument number
201900253449 in the real property records of Dallas county, Texas on which was subject to a
Deed of Trust, Security Agreement, and Fixture Filing to 2999 Turtle Creek, LLC recorded on
September 23, 2019 as instrument number 201900253450 in the real property records of Dallas
County, Texas.

        WHEREAS 2999TC Acquisitions, LLC, a Delaware limited liability company (the
"Grantor") and HNGH Turtle Creek, LLC, a Delaware limited liability company (the "Grantee")
as the successor in interest to and/or as the assignee of 2999 Turtle Creek, LLC (the “Original
Lender”) entered into a written agreement (“Agreement”) under which Grantor agreed to convey
the Property to Grantee upon the occurrence of certain agreed conditions.

       WHEREAS Grantor executed the undated special warranty deed (the “Deed”) on March
1, 2021, and delivered to Grantee to be held in escrow and to be effective and recorded only upon
the occurrence of such agreed conditions as set forth in the Agreement;

        WHEREAS Grantee dated the Deed as of October 29, 2021 (which dating was not
consented to by Grantor) and recorded the Deed as instrument number 2021 003 271 72 in the
real property records of Dallas County, Texas on November 1, 2021 (which recordation, too, was
not consented to by Grantor, and made the subject of an adversary proceeding in the Bankruptcy
Court, defined below);




Agreed Rescission of Special Warranty Deed (“Deed”)                                        Page 1
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        WHEREAS Grantor filed for bankruptcy protection in the United States Bankruptcy Court
for the Northern District of Texas (“Bankruptcy Court”) on October 29, 2021 (Case no. 21-31954-
hdh11) wherein Grantor disputed the right of Grantee to record the Deed and alleged that such
recording was improper;

       WHEREAS Grantor has retained sole and exclusive possession of the Property at all times
and Grantee never occupied nor took possession of the Property; and

        WHEREAS Grantee and Grantor have agreed as ordered by the Bankruptcy Court by
Order signed December 10, 2021 (Dkt 64), as amended on March 17 2022, for the Grantee to
rescind and avoid the Deed, which shall be retroactive and effective as of October 29, 2021, and
acknowledging and agreeing that no grant, sale, bargain, transfer, or conveyance of the Property
occurred to the same extent as if the Deed had never been executed or recorded.

       NOW THEREFORE Grantor and Grantee hereby incorporate by reference the recitals
above, and HEREBY RESCIND AND AVOID in full, ab initio, the execution, delivery,
granting, and recording of the Deed and any and all grants, bargains, sales, transfers, and
conveyances related to the Property otherwise effected in the hereby rescinded Deed, including
any and all restrictions made therein, are HEREBY EXPRESSLY RESCINDED in full, ab initio.

        Further, as a result of such rescission, ab initio, the parties hereto hereby expressly
covenant, confirm, and agree that the lien(s) in favor of Grantee encumbering the Property prior
to the recordation of the Deed rescinded hereby, namely:

        (a) that certain Secured Promissory Note dated September 20, 2019 (the "Note"), in the
        original principal amount of $32,500,000, payable by the Grantor, as maker, to the order
        of Original Lender, as assigned to HNGH, the current payee and holder of the Note, and

        (b) the lien on and security interest against the Property created by that certain Deed of
        Trust, Security Agreement and Fixture Filing dated September 20, 2019 and recorded on
        September 23, 2019 as instrument number 201900253450 in the real property records of
        Dallas County, Texas;

SHALL BE AND ARE HEREBY REINSTATED and did not merge into the greater fee estate
of the Grantee upon the recordation of the Deed rescinded hereby.




Agreed Rescission of Special Warranty Deed (“Deed”)                                         Page 2
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         Grantee represents, warrants, and affirms (i) that it never occupied nor took possession of
the Property; (ii) that it has not caused or permitted the Property to be encumbered in any way
except which have otherwise been fully released as recorded in the property records of Dallas
County, Texas; (iii) that it has no claims related to the Property; (iv) and that it has acquired no
rights, title, or interests of any kind in the Property.

        The effect of this rescission shall be as if any conveyance, transfer, sale, bargain, or grant
of the Property by way of the Deed never happened and Grantor and Grantee and as such, the
Deed is void and of no force and effect, from the beginning.

                                      [Signature Pages to Follow]




Agreed Rescission of Special Warranty Deed (“Deed”)                                             Page 3
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       IN WITNESS WHEREOF, Grantor has executed this AGREED RESCISSION OF
  SPECIAL WARRANTY DEED on the____ day of _________________ 2022.


                                                 2999TC ACQUISITIONS, LLC,
                                                 a Delaware limited liability company
                                                 formerly known as MO 2999TC, LLC


                                                 By:    ______________________________
                                                 Name: Timothy Barton
                                                 Title: President




  STATE OF TEXAS

  COUNTY OF ________________


  BEFORE ME, the undersigned Notary Public, on this day personally appeared Timothy Barton,
  known to me to be the person and officer whose name is subscribed to the foregoing instrument
  on behalf of 2999TC Acquisitions, LLC, and acknowledged to me that he executed the same
  for the purposes and consideration therein expressed, as the act and deed of said limited liability
  company and in the capacity therein stated, and furthermore represents he has such authority.

  GIVEN UNDER MY HAND AND SEAL OF OFFICE this the _____ day of______________
  2022.


                                        ___________________________
                                        Notary Public in and for the State of ________________
                                        My Commission Expires: _________________




Agreed Rescission of Special Warranty Deed (“Deed”)                                            Page 4
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       IN WITNESS WHEREOF, Grantee has executed this AGREED RESCISSION OF
  SPECIAL WARRANTY DEED on the____ day of _________________ 2022.


                                                 HNGH TURTLE CREEK, LLC
                                                 a Delaware limited liability company


                                                 By:    ______________________________
                                                 Name: ______________________________
                                                 Title: ______________________________




  STATE OF TEXAS

  COUNTY OF ________________


  BEFORE ME, the undersigned Notary Public, on this day personally appeared
  ____________________known to me to be the person and officer whose name is subscribed to
  the foregoing instrument on behalf of HNGH Turtle Creek, LLC, and acknowledged to me that
  he executed the same for the purposes and consideration therein expressed, as the act and deed
  of said limited liability company and in the capacity therein stated and furthermore represents
  he and it has such authority, as the successor in interest of the Original Lender (as defined
  hereinabove), and the sole owner and holder of the Note and associated liens.

  GIVEN UNDER MY HAND AND SEAL OF OFFICE this the _____ day of______________
  2022.


                                        ___________________________
                                        Notary Public in and for the State of ________________
                                        My Commission Expires: _________________




Agreed Rescission of Special Warranty Deed (“Deed”)                                         Page 5
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                                            EXHIBIT A
                                       PROPERTY DESCRIPTION




Agreed Rescission of Special Warranty Deed (“Deed”)                                   Page 6
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                           EXHIBIT “4”
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
YOU MAY REMOVE OR STRIKE OUT ANY OF THE FOLLOWING
INFORMATION FROM THIS INSTRUMENT BEFORE IT IS FILED FOR RECORD
IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVERS LICENSE NUMBER

                                    AGREED RESCISSION
                                               OF
                   SPECIAL WARRANTY DEED (the “DEED-IN-LIEU”)                                           Formatted: Underline, Font color: Auto
                              (Instrument number 2021 003 271 72
      recorded in the real property records of Dallas County, Texas on November 1, 2021)


THE STATE OF TEXAS
                                                  KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF DALLAS

       WHEREAS Turtle Creek Dickason, Ltd conveyed certain property located at 2999 Turtle
Creek Blvd, Dallas, Dallas County, Texas as further described on Exhibit A and incorporated
herein including all improvements (“Property”) to 2999TC Acquisitions, LLC, f/k/a MO
2999TC, LLC, a Delaware limited liability company, as evidenced by the Special Warranty Deed
executed on September 20, 2019 and recorded on September 23, 2019 as instrument number
201900253449 in the real property records of Dallas county, Texas on which was subject to a
Deed of Trust, Security Agreement, and Fixture Filing to 2999 Turtle Creek, LLC recorded on
September 23, 2019 as instrument number 201900253450 in the real property records of Dallas
County, Texas.

        WHEREAS 2999TC Acquisitions, LLC, a Delaware limited liability company (the
"Grantor") and HNGH Turtle Creek, LLC, a Delaware limited liability company (the "Grantee")
as the successor in interest to and/or as the assignee of 2999 Turtle Creek, LLC (the “Original
Lender”) entered into a written agreement (“Agreement”) under which Grantor agreed to convey
the Property to Grantee upon the occurrence of certain agreed conditions.

       WHEREAS Grantor executed the undated special warranty deed (the “Deed-in-Lieu”) on
March 1, 2021, and delivered to Grantee to be held in escrow and to be effective and recorded
only upon the occurrence of such agreed conditions as set forth in the Agreement;

       WHEREAS Grantee dated the Deed-in-Lieu as of October 29, 2021 (which dating was not
consented to by Grantor) and on that same date filed the Deed with the Dallas County Clerk to be
recorded the Deed-in-Lieuin the real property records of Dallas County, Texas. Later that same
day, Grantor filed a petition for bankruptcy relief under Chapter 11 of Title 11 of the United States
Code, commencing bankruptcy case no. 21-31954-hdh11 (the "Bankruptcy Case"). On November
1, 2021, the Deed was recorded as instrument number 2021 003 271 72 in the real property
records of Dallas County, Texas;

Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
                                                   Page 1
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        WHEREAS on November 1, 2021 (which recordation, too, was not consented to byin its
Bankruptcy Case, Grantor, contested the filing and made the subject of an adversary proceeding        Formatted: Font color: Black
in the Bankruptcy Court, defined below);                                                              Formatted: Font color: Black
        recording of the Deed by Grantee, and Grantee asserted that the filing and recording of the
Deed was valid and enforceable;




Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
                                                   Page 2
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WHEREAS Grantor filed for bankruptcy protection in the United States Bankruptcy Court for the
Northern District of Texas (“Bankruptcy Court”) on October 29, 2021 (Case no. 21-31954-hdh11)
wherein Grantor disputed the right of Grantee to record the Deed-in-Lieu and alleged that such
recording was improper;

       WHEREAS Grantor has retained sole and exclusive possession of the Property at all times
and Grantee never occupied nor took possession of the Property; and

        WHEREAS Grantee and Grantor have agreed as ordered by the Bankruptcy Court by
Order signed December 10, 2021 (Dkt 64), as amended on March 17, 2022, for (Dkt 940) (the
"Agreed Orders"), that Grantee toshall rescind and avoid the Deed-In-Lieu, which shall be
retroactive and effective as of October 29, 2021 upon effectuation of all conditions precedent set
forth in the Agreed Order, and acknowledging and agreeing that no grant, sale, bargain, transfer,
or conveyance of the Property occurred to the same extent as if the Deed-In-Lieu had never been
executed or recorded.

         NOW THEREFORE Grantor and Grantee hereby incorporate by reference the recitals
above, and HEREBY RESCIND AND AVOID in full, ab initio, the execution, delivery,
granting, and recording of the Deed-In-Lieu and any and all grants, bargains, sales, transfers, and
conveyances related to the Property otherwise effected in the hereby rescinded Deed-In-Lieu,
including any and all restrictions made therein, are HEREBY EXPRESSLY RESCINDED in
full, ab initio.

         Further, as a result of such rescission, ab initio, the parties hereto hereby expressly
covenant, confirm, and agree that the lien(s) in favor of Grantee encumbering the Property prior
to the recordation of the Deed-In-Lieu rescinded hereby, namely:

        (a) that certain Secured Promissory Note dated September 20, 2019 (the "Note"), in the
        original principal amount of $32,500,000, payable by the Grantor, as maker, to the order
        of Original Lender, as assigned to HNGH, the current payee and holder of the Note, and

         (b) the lien on and security interest against the Property created by that certain Deed of
        Trust, Security Agreement and Fixture Filing dated September 2920, 2019, and recorded
        on September 23, 2019 as Document # _____________instrument number 201900253450
        in the real property records of Dallas County, Texas; (the "First Lien Deed of Trust");       Formatted: Font: Not Bold


SHALL BE AND ARE HEREBY REINSTATED and did not merge into the greater fee estate
of the Grantee upon the recordation of the Deed-In-Lieu rescinded hereby.




Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
                                                   Page 3
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        Grantee represents, warrants, and affirms (i) that it never occupied nor took possession of
the Property; (ii) that it has not caused or permitted the Property to be encumbered in any way
except which have otherwise been fully released as recorded in the property records of Dallas
County, Texas; (iii) that it has no claims related to the Property except as set forth herein through
reinstatement of its Note and First Lien Deed of Trust; (iv) and that upon rescission it hasshall
have acquired no rights, title, or interests of any kind in the Property other than the reinstatement
of its Note and First Lien Deed of Trust in accordance with the Agreed Orders.

        The effect of this rescission shall be as if any conveyance, transfer, sale, bargain, or grant
of the Property by way of the Deed-in-Lieu never happened and Grantor and Grantee and as such,
the Deed-in-Lieu is void and of no force and effect, from the beginning.

                                      [Signature Pages to Follow]




Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
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       IN WITNESS WHEREOF, Grantor has executed this AGREED RESCISSION OF
  SPECIAL WARRANTY DEED on the____ day of _________________ 2022.


                                                  2999TC ACQUISITIONS, LLC,
                                                  a Delaware limited liability company
                                                  formerly known as MO 2999TC, LLC


                                                  By:    ______________________________
                                                  Name: Timothy Barton
                                                  Title: President




  STATE OF TEXAS

  COUNTY OF ________________


  BEFORE ME, the undersigned Notary Public, on this day personally appeared Timothy Barton,
  known to me to be the person and officer whose name is subscribed to the foregoing instrument
  on behalf of 2999TC Acquisitions, LLC, and acknowledged to me that he executed the same
  for the purposes and consideration therein expressed, as the act and deed of said limited liability
  company and in the capacity therein stated, and furthermore represents he has such authority.

  GIVEN UNDER MY HAND AND SEAL OF OFFICE this the _____ day of______________
  2022.


                                        ___________________________
                                        Notary Public in and for the State of ________________
                                        My Commission Expires: _________________




Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
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       IN WITNESS WHEREOF, Grantee has executed this AGREED RESCISSION OF
  SPECIAL WARRANTY DEED on the____ day of _________________ 2022.


                                                  HNGH TURTLE CREEK, LLC
                                                  a Delaware limited liability company


                                                  By:    ______________________________
                                                  Name: ______________________________
                                                  Title: ______________________________




  STATE OF TEXAS

  COUNTY OF ________________


  BEFORE ME, the undersigned Notary Public, on this day personally appeared
  ____________________known to me to be the person and officer whose name is subscribed to
  the foregoing instrument on behalf of HNGH Turtle Creek, LLC, and acknowledged to me that
  he executed the same for the purposes and consideration therein expressed, as the act and deed
  of said limited liability company and in the capacity therein stated and furthermore represents
  he and it has such authority, as the successor in interest of the Original Lender (as defined
  hereinabove), and the sole owner and holder of the Note and associated liens.

  GIVEN UNDER MY HAND AND SEAL OF OFFICE this the _____ day of______________
  2022.


                                        ___________________________
                                        Notary Public in and for the State of ________________
                                        My Commission Expires: _________________




Agreed Rescission of Special Warranty Deed (“Deed-in-Lieu”)
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                                             EXHIBIT A
                                       PROPERTY DESCRIPTION




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                           EXHIBIT “5”
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                                PAYOFF STATEMENT

                                                                                       REQUEST DATE:_____________________________________________
                                                                                                     5/27/2022
                                                                                       RECEIVED BY:        Mail          E-mail         Facsimile

                                                                                       RESPONSE DATE: 5/31/2022
                                                                                       SENT BY:     Mail       E-mail
                    701 S. Taylor, LB 120, Amarillo, Texas 79101
                                 Ph. 806-358-5110
                                                                                       TO:____________________________________________________________
                                                                                           Happy State Bank
    FROM:________________________________________________________________
           Tammy Blake
    Address:______________________________________________________________
              701 S Taylor LB 120 Amarillo, TX 79101                                   ATTN:_________________________________________________________
                                                                                            Julie Blakely
    E-mail Address:______________________________________________________
                      tblake@happybank.com
    Fax No.:_______________________________________________________________
             (806) 356-4263
                                                                   LOAN INFORMATION
    BORROWER: HNGH TURTLE CREEK LLC

    COLLATERAL ADDRESS 2999 Turtle Creek Boulevard
    OR LEGAL DESCRIPTION: CD 6037007306


    LOAN NO.: 4000017910                                                               NEXT PAYMENT DUE: 6/4/2022

                                                                      AMOUNT DUE
    CLOSING DATE: 5/31/2022

    THIS STATEMENT REFLECTS THE TOTAL AMOUNT DUE UNDER THE TERMS OF THE NOTE/SECURITY INSTRUMENT THROUGH
    THE CLOSING DATE STATED ABOVE. If this obligation is not paid in full by this date, then you should obtain from us an updated
    payoff amount before closing.

    Total Principal, Interest, and other amounts due under the Note/Security Instrument:

      Principal Balance:                                                          $ _______________________________
                                                                                     26,194,484.99
      Interest through _______________________________
                          _______________________________:
                           5/31/2022                                              $ _______________________________
                                                                                     102,776.97
      Late charges:                                                               $ _______________________________
      Less insurance rebate:                                                      $ _______________________________
      ___________________________________________________:
       Processing Fee                                                             $ _______________________________
                                                                                     35.00
      ___________________________________________________:
       OTHER                                                                      $_______________________________
                 TOTAL AMOUNT DUE:                                                $ 26,297,296.96

                          5/31/2022
    Funds received after ___________________                                    3820.03
                                             will be subject to an additional $___________________ of interest per day. FUNDS MUST BE
    RECEIVED BY 3:00PM FOR SAME-DAY PROCESSING. PAYOFFS ARE NOT POSTED ON WEEKENDS OR HOLIDAYS. INTEREST
    WILL BE ADDED TO THE ACCOUNT FOR THESE DAYS.

                                                       WHERE TO SUBMIT PAYOFF FUNDS
        WIRE: Happy State Bank                                                         MAIL/DELIVERY: Happy State Bank
              100 E. Main, P.O. Box 68                                                                Attn: Loan Administration Payoffs
              Happy, Texas 79042                                                                      701 South Taylor, LB 120
              Ph. 806-558-2265 Fax 806-558-2214                                                       Amarillo, Texas 79101
              ROUTING NO.: 111310870


    Release of Lien Processing:
        Happy State Bank will NOT prepar
                                  prepare the release of lien.



        This Note/Security Instrument is due for payment on ______________.
                                                              6/4/2022       If payment i not received within _______________ days of the
        current payment due date, a late charge of $_______________ will be assessed. Please add that amount to the payoff total.


        This is an Adjustable Rate Mortgage. Under the terms of this loan the next Change Date for the interest rate charged is
        ______________________. We will only issue a payoff good through the next Change Date. If the closing date is past the next
        Change Date an updated Payoff Statement from us will be required.


        Escrow Disbursement Amounts & Dates:
    _____________________________________________________      $____________________________________    _________________________________________________
    _____________________________________________________      $____________________________________    _________________________________________________
    _____________________________________________________      $____________________________________    _________________________________________________

                                                                      LEGAL NOTICES
    TEXAS FINANCE CODE § 343.106 REQUIRES PAYOFF                                                          TEXAS FINANCE CODE § 343.106 REQUIRES THE
    STATEMENT CONTAIN CLOSING DATE AND DATE THROUGH          ANY AMOUNT HELD IN ESCROW AT CLOSING         IMPLEMENTING RULE TO ALLOW MORTGAGE
    WHICH PAYOFF AMOUNT IS VALID. THESE REQUIREMENTS         WILL BE SETTLED IN ACCORDANCE WITH           SERVICERS AT LEAST SEVEN (7) BUSINESS DAYS FROM
    CANNOT BE DELETED FROM PAYOFF STATEMENT.                 APPLICABLE FEDERAL LAW.                      THE DATE OF RECEIPT OF PAYOFF REQUEST TO
                                                                                                          RESPOND TO A REQUEST MADE UNDER THE STATUTE.
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                           EXHIBIT “6”
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From: Julie Lyssy <jlyssy@senderatitle.com>
Sent: Tuesday, May 31, 2022 11:22 AM
To: Joyce Lindauer <joyce@joycelindauer.com>
Cc: Jeanie Acord <jacord@senderatitle.com>
Subject: RE: 2999TC Acquisitions Closing - HSB Payoff Statement [IWOV-iManage.FID2137592]

Joyce,

I still need the Assignment from Axos Bank to 2999 Turtle Creek LLC.

Julie Lyssy,
Escrow Officer
SENDERA TITLE
1800 Valley View Ln. # 160
Farmers Branch, Texas 75234
jlyssy@senderatitle.com
Tel 972-428-2855
Fax 972-428-2901

WARNING – FRAUDULENT FUNDING INSTRUCTIONS: Email hacking and fraud are on the rise to
fraudulently misdirect funds. Please call your escrow officer immediately using contact
information found from an independent source, such as the sales contract or internet, to verify
any funding instructions received. We are not responsible for any wires sent by you to an
incorrect bank account.

CONFIDENTIALITY NOTICE:
The information contained in this message is privileged and confidential; intended only for the use of the addressee(s). If
the reader of this message is not the intended recipient, you are hereby notified that any dissemination, distribution or
copying of this communication is strictly prohibited. If you have received this communication in error, please immediately
notify me and you are hereby instructed to delete all electronic copies and destroy all printed copies.




                                                             1
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                           EXHIBIT “7”
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                                                                                9050 Capital of Texas Hwy. Ste. 100
                                                                                                  Austin, TX 78759
                                                                                                      512.637.2891
                                         May 31, 2022


 To Khudabuksh Walji

 Law Office of K. Walji, P.C.

 By Email: k. walji@waljilaw.com



                          Lack of Satisfactory Documentation to Clear Title
                         for 2999 Turtle Creek Blvd, Dallas, Texas 75219

 Mr. Walji,

 While we intended to close and fund this loan in an expedited manner, from an underwriting standpoint,
 we could not properly proceed with this loan given the ambiguity in title. Per our counsel, the Special
 Warranty Deed was in defect and the loan assignment documents were and still are not available. As such,
 there was no possibility to close the loan by May 30, 2022. Only once an executed recission deed, as
 provided, is in place and we have received the loan collateral assignment documentation, can we properly
 document there are no pending title concerns.

 Assuming these issues are to be resolved today (May 31st, 2022) and we have received confirmation from
 the title company, our underwriting department will require five (5) business days to close and fund
 the transaction for $40,882,500 plus costs and fees as per our Term Sheet.

 Finally, our underwriting stated that the May 18, 2022, Court Order has a 14-day appeal period, and that
 would be after May 30, 2022, i.e., June 1, 2022, and thus May 30, 2022, could not have been possible to
 satisfy our underwriter.

 Feel free to contact me should you have any questions.



                                                 Regards,




                                                 Garrison Kickham - Managing Director
                                                 512.375.0842
                                                 9050 Capital of Texas Hwy, Suite 100
                                                 Austin, TX 78759




                                                             1
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                            JOYCE W. LINDAUER ATTORNEY, PLLC
                                      Attorney & Mediator
                                   1412 Main Street, Suite 500
                                       Dallas, Texas 75202
                                 Email: joyce@joycelindauer.com


 Telephone No.                                                                        Facsimile No.
 (972) 503-4033                                                                       (972) 503-4034


                                               May 30, 2022

 Via Email
 To John Kane

 Re:    File 2201814-VVJA 2999 Turtle Creek Blvd, Dallas, TX Closing Documents

 John, please confirm the following matters to ensure that title to the Property is clear, and particularly,
 not encumbered by any of the filings by the lender parties, and as such must be delivered or caused
 to be delivered by your client, HNGH (and in some instances, possibly third parties):

 1.0    THE RECISSION OF DEED (fka SWD)

 1.1    Rescission of Deed

 1.2    In connection with the above, a standard form Bills Paid and Parties in Possession Affidavit
        of HNGH.

 2.0    THE DEED OF TRUST

 2.1    Release of the Deed of Trust, by HNGH;

        a. Deed of Trust, Security Agreement and Fixture Filing dated as of September 20, 2019, by
           MO 2999TC, LLC in favor of Michael B. Massey, as Trustee for the benefit of 2999 Turtle
           Creek LLC, recorded in the Office of the County Clerk for the County of Dallas, State of
           Texas, on September 23, 2019 as Instrument No. 201900253450 as assigned to HNGH
           Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of Deed of Trust and
           Assignment of Leases and Rents recorded on December 8, 2020 under instrument number
           202000341904.

 2.2    Related to the immediately above, a Release of the prior collateral assignment of the Note and
        Deed of Trust and all Loan Documents fbo of Axos, to be signed by Axos, and other
        confirmation that Axos has no legal or equitable interest in the Note and Deed of Trust or
        other Loan Documents that were collaterally assigned (including Assignment of Leases and
        Rents);



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                                                                            EXHIBIT "1"
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 2.3   Release of the prior collateral assignment of the Note, Deed of Trust, and Assignment of
       Leases and Rents (3 documents) fbo of Happy State Bank, to be signed by Happy State Bank,
       and other confirmation that Happy State Bank has no legal or equitable interest in the Note
       and Deed of Trust;

 2.4   Release of Assignment of Leases and Rents dated as of September 20, 2019, by MO 2999TC,
       LUC for the benefit of 2999 Turtle Creek LLC, recorded in the Office of the County Clerk for
       the County of Dallas, State of Texas, on September 23, 2019 as Instrument No. 201900253451
       as assigned to HNGH Turtle Creek, LLC by 2999 Turtle Creek LLC under the Assignment of
       Deed of Trust and Assignment of Leases and Rents recorded on December 8, 2020 under
       instrument number 202000341904.

 2.5   Release of prepaid interest agreement to Madison (and release by HNGH if it was assigned).

 3.0          UCC FILING(S)

 3.1   Release of the UCC, by HNGH (county and state)

 3.2   Related to the immediately above, a Release of the prior assignment of the UCC fbo of Axos,
       to be signed by Axos, and other confirmation that Axos has no legal or equitable interest in
       the UCC filing;

 3.3   Termination of Loan participation agreement, executed by each of the parties thereto, and or
       other confirmation that the Loan participation agreement has been terminated, and is no longer
       of any force or effect

 3.4   Release of whatever agreement Axos signed to permit the participation agreement (See
       excerpt from an email during negotiations between Madison and HNGH at the end)

 3.5   Release of the prior collateral assignment of the UCC fbo of Happy State Bank, to be signed
       by Happy State Bank, and other confirmation that Happy State Bank has no legal or equitable
       interest in the UCC filing;

 4.0   NOTE

 4.1   The original Note, marked paid in full; delivered to title company to make sure original is
       provided. .

 5.0   AUTHORITY OF LENDER ENTITIES

 5.1   In connection with the above, Secretary or other Officer Certificate of HNGH, including
       copies of the governing documents of HNGH, and including consent resolutions of the
       director and or managers, and the consent of the shareholders and or members, to the execution
       and delivery of each of the above referenced closing documents,




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 5.2   Ratification of all prior acts and Consent of HN Green Hollow Capital Partners executed by
       Jim Glasgow who is the manager – he is the one that executed the participation agreement, so
       anything related to that agreement needs to especially come from him in addition to HN
       Capital Partners, LLC.

 5.3   In connection with the above, Secretary or other Officer Certificate of Axos, including copies
       of the governing documents of Axos, and including consent resolutions of the director and or
       managers, and the consent of the shareholders and or members, to the execution and delivery
       of the Axos documents;

 5.4   In connection with the above, Secretary or other Officer Certificate of Happy State Bank,
       including copies of the governing documents of Happy State Bank, and including consent
       resolutions of the director and or managers, and the consent of the shareholders and or
       members, to the execution and delivery of each of the above referenced closing documents
       executed by HSB; together with confirmation, together with confirmation that Happy State
       Bank (a) is and remains the holder of the collateral assignment from HNGH and that Happy
       State Bank has not further sold or encumbered the collateral itself, which they apparently had
       the right to do under the Collateral Assignment), and (b) authorized and consented to and or
       ratified HNGH’s execution and delivery of the Order, as well as the Rescission of Deed.

 5.5   Everything executed by HNGH should be executed by HN Green Hollow as the sole member
       or otherwise consented to by sole member and not just executed by Vipin

 5.6   Need assurance Madison assigned the guaranties to HNGH as they asserted.

 5.7   Also, HNGH was intervenor in the guaranty case so Madison is still a party - both will have
       to dismiss w prejudice.

 5.8   Check if Madison assigned all the loan docs to HNGH not just the recorded documents.

 5.9   Look at the collateral assignment to HSB to be sure HNGH even had the authority to do what
       they did including agreeing to the BK order.

 6.0   LITIGATION AND MATTERS

 6.1   Dismissal of the Guaranty litigation, with prejudice provided to the Guarantor

 7.0   GENERALLY

 7.1   Sequencing Agreement, and or Joint Closing Instructions, respecting the effect and timing
       each of the above instruments, to be signed by HNGH, Debtor (Seller), and purchaser, either
       directly or by and through counsel.

 7.2   If any potential lenders/investors on our side are exposed or names are released, John Kane to
       sign agreement that neither he nor HNGH have communicated with them.


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 John, please specifically confirm which of the above items have already been delivered to the Title
 Company (and provide me with copies of such please for review), and when the balance of the items
 will be delivered, in advance of the closing.


 Thank you.

 Joyce Lindauer

 Cc: Client




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                            COMMITMENT LETTER
 TO:    Enoch Investments, LLC
        c/o Randy Marx, Esq
        The Marx Firm, LLC
        2999 Turtle Creek Blvd.
        Dallas, Texas 75219
        randy@themarxfirm.com.

        The foregoing Commitment represents the representation of First Guaranty Bank that it
 has committed to lend on the following terms:

         Borrower:                   Enoch Investments LLC

         Guarantors:                 The TLB 2012 Irrevocable Trust Dated March 16, 2012;
                                     Timothy Lynch Barton; Maximilien Enoch Barton; D4FR
                                     LLC; D4DDS LLC; D4IN LLC; D4OP LLC

         Purpose:                    Loan to Purchase 2.473 Acres of Land and Office Building
                                     located at 2999 Turtle Creek Blvd, Dallas, TX 75219

         Loan Amount:                $33,840,000

         Collateral:                 Perfected First Lien on approx. 2.473 acres of land and
                                     improvements at 2999 Turtle Creek Blvd, Dallas, TX
                                     75219

 Terms for Commercial Real Estate Loan:

         Rate:                       Variable Rate using Wall Street Journal Prime Rate
                                     Currently at 4.00% + 1% Margin and the rate is floating
                                     daily; Floor Rate of 5%

         Amortization:               6 months IO followed by 240 Months P&I amortized

         Repayment term:             6 Months Interest Only Payments. 240 Months Principal and
                                     Interest Payments after initial Interest Only Period. Monthly
                                     Escrow of Taxes and Insurance

         Fees:                       1% Origination Cash at closing; 2% Origination
                                     Fee if financed; $350 Document Fee

         Prepayment:                 3% Prepayment Penalty

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                                                                      EXHIBIT "2"
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 Closing Checklist:

         Pre Closing:              Verification of Funds used for Equity Injection

                                   Satisfactory receipt of documentation showing that any
                                   outstanding liens and d judgements reported on background
                                   check for Timothy Barton have been cleared/released

                                   Signed and Dated Personal Financial Statement for
                                   Guarantor(s)

                                   Attorney Review of Borrower Ownership Structure,
                                   including authority, Trust powers, Trustee Duties, and
                                   Relationship to the Borrowing Entity

                                   Full Title Exam on Building and Land; Third Party
                                   Attorney Review of Transaction

         Recurring Covenants:      Quarterly Company Prepared Financial Statements for
                                   Enoch Investments LLC to be provided to FGB

                                   Audited Annual Financial Statements for Enoch
                                   Investments LLC to be provided to FGB

       Estimated Closing Date:     The estimated date of closing is 10 (ten) business days from
                                   the Acknowledgement Date of this Commitment, subject to
                                   any additional time identified in order to obtain good title,
                                   insurance, legal review, or other common and ordinary
                                   needs identified by First Guaranty Bank to complete
                                   closing.

                        [[[[REST OF THIS PAGE INTENTIONALLY BLANK]]]]




 Commitment Letter – Enoch Investments LLC                                           Page 2 of 3
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                                       SIGNATURE PAGE
       FIRST GUARANTY BANK

        BY: /s/ Jordan Montgomery Lewis ___

        Its:   _Texas Area President         _

               _Jordan Montgomery Lewis_________


        BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS
        COMMITMENT. BORROWER ACCEPTS AND AGREES TO THE TERMS OF THE
        COMMITMENT AS OF ____5/27/22___________________.

        BORROWER:           Enoch Investments LLC

        By:    _______________________ (Signature)

        Its:   _______________________ (Title)

               _______________________ (Printed Name)

        Date: _______________________




 Commitment Letter – Enoch Investments LLC                                    Page 3 of 3
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 Joyce W. Lindauer
 State Bar No. 21555700
 Joyce W. Lindauer Attorney, PLLC
 1412 Main Street, Suite 500
 Dallas, Texas 75202
 Telephone: (972) 503-4033
 Facsimile: (972) 503-4034
 ATTORNEYS FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                            §
                                                   §
 2999TC ACQUISITIONS, LLC,                         §           CASE NO. 21-31954-hdh11
                                                   §
         DEBTOR.                                   §           CHAPTER 11


                              DECLARATION OF JOEY HOWELL

 STATE OF TEXAS                     §
                                    §
 COUNTY OF DALLAS                   §


          1.     My name is Joey Howell, I am over the age of twenty-one, of sound mind and

  capable of making this declaration.

          2.     I have personal knowledge of the statements contained herein.

          3.     I, as the manager of Silverlake Capital, LLC, have been working with a number of

  debt and or equity sources in order to assist the Debtor in obtaining the Payoff Amount required

  pursuant to the Court’s Order. My and our efforts in such regards has been materially delayed

  due in part to the earlier filing of a Deed-In-Lieu which has clouded title to the Property.

          4.     Particularly, that and the timing of the 05/18/2022 Order approving the plan, have

  occasioned one of my clients, namely Jeff VanNote, an officer and a principal owner of

  ReveriFinancing PM LLC, who had previously committed and or was then anticipated to commit
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  substantial funds in the amount of $30,000,000 toward the Payoff Amount, expressed his inability

  to complete his underwriting of the Property, and close on the loan before the Payoff Deadline,

  as he was delayed, and indeed stopped, by the potential delay occasioned by the fact that the

  Payoff Deadline was actually (apparently, inadvertently) set within 14 days of the 05/18/2022

  Order most recently approving the Debtor’s plan, as the Payoff Deadline was within the possible

  appeal period, ending 06/01/2022, as his title company, Chicago Title, had told him that they

  could not issue a clean title policy until 06/02/2022, after the possible appeal period has expired.

  See Exhibit 1, being a copy of the signed ReveriFinancing term sheet. See also, Exhibit 2, the

  then title commitment issued to ReveriFinancing. See also, Exhibit 3, correspondence from Mr.

  VanNote evidencing this concern, and inability to move forward at that time.

          5.    Additionally, upon information and belief, our efforts in such regards has been

  materially delayed as it appears that HNGH has failed to do all that it needs to do to satisfy its

  obligations under the Agreed Order, so that we could have an opportunity to review such in

  advance of the closing. Though some of the materials required have been, I understand, delivered

  over the holiday, and or are being belatedly delivered at this time, the fact is that neither I, nor my

  third-party debt and or equity sources have had, or will have time, today to adequately review

  those belatedly received materials.

          6.    Finally, my and our efforts, have been materially delayed as, upon information and

  belief, it appears that HNGH, have sought to and indeed interfered with the Debtor’s actual and

  prospective contractual relations with one or more third party debt and/or equity sources, with the

  intent and effect of frustrating and otherwise precluding the Debtor’s ability to perform

  thereunder; by making negative statements to third parties, which with whom Debtor had actual
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  and prospective contractual relations so as to source the necessary third party debt and/or equity,

  with the intent and/or effect of frustrating and otherwise precluding Debtor’s ability to perform.

      7.           Sendera was retained by 2999TC Acquisitions, LLC (“2999TC”) to serve as

  escrow agent and cause the issuance of a title insurance policy with regard to the closing of the

  transaction between the parties related to approximately 2.47 acres of undeveloped land located

  at 2999 Turtle Creek Blvd. located in the City of Dallas, Texas. (the “Property”).

      8.           In order to close the above-described transaction I know the lenders I am working

  with who have provided loan commitments are requiring the following documents be placed into

  escrow

           i.      Release of the Deed of Trust, by HNGH;

                a. Deed of Trust, Security Agreement and Fixture Filing dated as of September 20,
                   2019, by MO 2999TC, LLC in favor of Michael B. Massey, as Trustee for the
                   benefit of 2999 Turtle Creek LLC, recorded in the Office of the County Clerk for
                   the County of Dallas, State of Texas, on September 23, 2019 as Instrument No.
                   201900253450 as assigned to HNGH Turtle Creek, LLC by 2999 Turtle Creek LLC
                   under the Assignment of Deed of Trust and Assignment of Leases and Rents
                   recorded on December 8, 2020 under instrument number 202000341904.

           ii.    Related to the immediately above, a Release of the prior collateral assignment of
           the Note and Deed of Trust and all Loan Documents fbo of Axos, to be signed by Axos,
           and other confirmation that Axos has no legal or equitable interest in the Note and Deed of
           Trust or other Loan Documents that were collaterally assigned (including Assignment of
           Leases and Rents);

           iii.    Release of the prior collateral assignment of the Note, Deed of Trust, and
           Assignment of Leases and Rents (3 documents) fbo of Happy State Bank, to be signed by
           Happy State Bank, and other confirmation that Happy State Bank has no legal or equitable
           interest in the Note and Deed of Trust;

           iv.    Release of Assignment of Leases and Rents dated as of September 20, 2019, by
           MO 2999TC, LUC for the benefit of 2999 Turtle Creek LLC, recorded in the Office of the
           County Clerk for the County of Dallas, State of Texas, on September 23, 2019 as
           Instrument No. 201900253451 as assigned to HNGH Turtle Creek, LLC by 2999 Turtle
           Creek LLC under the Assignment of Deed of Trust and Assignment of Leases and Rents
           recorded on December 8, 2020 under instrument number 202000341904.
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         v.      Release of the UCC, by HNGH (county and state) respecting the subject Property;

         vi.    Related to the immediately above, a Release of the prior assignment of the UCC
         fbo of Axos, to be signed by Axos, and other confirmation that Axos has no legal or
         equitable interest in the UCC filing;

         vii.    Release of the prior collateral assignment of the UCC fbo of Happy State Bank, to
         be signed by Happy State Bank, and other confirmation that Happy State Bank has no legal
         or equitable interest in the UCC filing; and

         viii. The original Note, marked paid in full; delivered to title company to make sure
         original is provided.

 These documents are necessary so the new lender can close a loan and be assured it has good clean

 and clear title to the assets that will secure its debt.

          9.     My name is Joey Howell, my date of birth is 01/24/1954, and my address is 622

  Sorita Circle, Heath, Texas 75032, United States of America.

          10.    I declare under penalty of perjury that the foregoing is true and correct.



 Executed in Dallas County, State of Texas, on May 31, 2022.



                                                            ___________________________________
                                                            Joey Howell, Declarant



 Attachments:

 Exhibit 1       Term sheet

 Exhibit 2       Title commitment

 Exhibit 3       Email
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 Exhibit 1    Term sheet
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 Exhibit 2    Title commitment
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 THE LANGUAGE SET FORTH BELOW MUST BE INCORPORATED INTO A COVER LETTER ATTACHED
 TO ALL TITLE INSURANCE COMMITMENTS.


                       Required Language for a Title Insurance Commitment Cover Letter

The attached title insurance commitment contains information which has been obtained or derived from records
and information owned by Title Data, Inc. or one (1) of its subsidiaries (collectively "Title Data"). Title Data owns
and maintains land title plants for various Texas counties. Our company's right to access and use Title Data's title
plants is governed by the Subscription Agreement(s) we have with Title Data, which restricts who can receive
and/or use a title insurance commitment, which is based in whole or in part, upon Title Data's records and
information. The information contained in the title plants is protected by federal copyright law and Texas common
law on trade secrets and contract.

This Title Insurance Commitment should not be re-distributed without first confirming with the issuing
agent what is permissible under the terms of their Subscription Agreement with Title Data.




REQUIRED LANGUAGE FOR A TITLE INSURANCE COMMITMENT COVER LETTER
Letter (Title Data - Commitment) (03.27.19)
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                                                           WIRE FRAUD ALERT
                                     This Notice is not intended to provide legal or professional advice.
                                          If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be wired
in conjunction with this real estate transaction, we strongly recommend verbal verification of wire instructions
through a known, trusted phone number prior to sending funds.

In addition, the following non-exclusive self-protection strategies are recommended to minimize exposure to possible wire
fraud.

    NEVER RELY on emails purporting to change wire instructions.                                   Parties to a transaction rarely change wire
     instructions in the course of a transaction.

    ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party who
     sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions, use
     phone numbers you have called before or can otherwise verify. Obtain the number of relevant parties to the
     transaction as soon as an escrow account is opened. DO NOT send an email to verify as the email address may
     be incorrect or the email may be intercepted by the fraudster.

    USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make your
     passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
     password for other online accounts.

    USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
     instructions on how to implement this feature.

For more information on wire-fraud scams or to report an incident, please refer to the following links:

           Federal Bureau of Investigation:                                                      Internet Crime Complaint Center:
                  http://www.fbi.gov                                                                     http://www.ic3.gov




Wire Fraud Alert                                                                                                                                              Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                        4300112206494-MF - WIRE0016 (DSI Rev. 12/07/17)
                                         TM and © Fidelity National Financial, Inc. and/or an affiliate. All rights reserved
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                                                            COMMITMENT FOR TITLE INSURANCE (T-7)
Issued By:                                                                                       Commitment Number:


                Chicago Title Insurance Company                                                 4300112206494



       THE FOLLOWING COMMITMENT FOR TITLE INSURANCE IS NOT VALID UNLESS YOUR NAME AND THE
         POLICY AMOUNT ARE SHOWN IN SCHEDULE A, AND OUR AUTHORIZED REPRESENTATIVE HAS
                                     COUNTERSIGNED BELOW.



We (Chicago Title Insurance Company, a Florida corporation) will issue our title insurance policy or policies (the Policy) to
You (the proposed insured) upon payment of the premium and other charges due, and compliance with the requirements
in Schedule C. Our Policy will be in the form approved by the Texas Department of Insurance at the date of issuance, and
will insure your interest in the land described in Schedule A. The estimated premium for our Policy and applicable
endorsements is shown on Schedule D. There may be additional charges such as recording fees, and expedited delivery
expenses.
This Commitment ends ninety (90) days from the effective date, unless the Policy is issued sooner, or failure to issue the
Policy is our fault. Our liability and obligations to you are under the express terms of this Commitment and end when this
Commitment expires.

                                                                              Chicago Title Insurance Company
                                                                                By:
Issued By:
Chicago Title of Texas, LLC

                                                                                          Michael J. Nolan, President
                                                                                Attest:




                         Melanie Fey                                                      Marjorie Nemzura, Secretary
                                                      CONDITIONS AND STIPULATIONS
1. If you have actual knowledge of any matter which may affect the title or mortgage covered by this Commitment that is
   not shown in Schedule B you must notify us in writing. If you do not notify us in writing, our liability to you is ended or
   reduced to the extent that your failure to notify us affects our liability. If you do notify us, or we learn of such matter, we
   may amend Schedule B, but we will not be relieved of liability already incurred.
2. Our liability is only to you, and others who are included in the definition of Insured in the Policy to be issued. Our
   liability is only for actual loss incurred in your reliance on this Commitment to comply with its requirements, or to
   acquire the interest in the land. Our liability is limited to the amount shown in Schedule A of this Commitment and will
   be subject to the following terms of the Policy: Insuring Provisions, Conditions and Stipulations, and Exclusions.




Form T-7: Commitment for Title Insurance (01/03/14)                                                       TX----SPS-1-22-4300112206494
                                                                 Page 1
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CHICAGO TITLE INSURANCE COMPANY                                                    COMMITMENT NO.: 4300112206494

                                                        SCHEDULE A

Effective Date: May 18, 2022 at 8:00 AM                                              GF No.: SCT-47-4300112206494-MF
Commitment No.: 4300112206494                                                           Issued: May 26, 2022 at 8:00 AM

1. The policy or policies to be issued are:
     a. OWNER'S POLICY OF TITLE INSURANCE (Form T-1)
        (Not applicable for improved one-to-four family residential real estate)
           Policy Amount:
           PROPOSED INSURED:

     b. TEXAS RESIDENTIAL OWNER'S POLICY OF TITLE INSURANCE
        ONE-TO-FOUR FAMILY RESIDENCES (Form T-1R)
           Policy Amount:
           PROPOSED INSURED:

     c.    LOAN POLICY OF TITLE INSURANCE (Form T-2)
           Policy Amount:     $47,000,000.00
           PROPOSED INSURED:
           Proposed Borrower: 2999TC Acquisitions, LLC f/k/a MO 2999TX, LLC, a Delaware limited liability company
                              and HNGH Turtle Creek, LLC, a Texas limited liability company

     d. TEXAS SHORT FORM RESIDENTIAL LOAN POLICY OF TITLE INSURANCE (Form T-2R)
           Policy Amount:
           PROPOSED INSURED:
           Proposed Borrower:

     e. LOAN TITLE POLICY BINDER ON INTERIM CONSTRUCTION LOAN (Form T-13)
           Policy Amount:
           PROPOSED INSURED:
           Proposed Borrower:

     f.    OTHER
           Policy Amount:
           PROPOSED INSURED:
2. The interest in the land covered by this Commitment is:
           Fee Simple
3. Record title to the land on the Effective Date appears to be vested in:
           2999TC Acquisitions, LLC f/k/a MO 2999TX LLC, a Delaware limited liability company and HNGH Turtle Creek,
           LLC, a Texas limited liability company, as their interests may appear
4. Legal description of land:
           Being a tract of land situated in the James A. Sylvester Abstract No. 1383, and the John Grisby Survey,
           Abstract No. 495, City of Dallas Block No. A/1031, Texas and being all of Lot 4, Block A/1031, of TURTLE
           CREEK OFFICE ADDITION, an addition to the City of Dallas, Texas, according to the plat thereof
           recorded in Volume 2003162, Page 48, Plat Records, Dallas County, Texas.

                                                      END OF SCHEDULE A




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CHICAGO TITLE INSURANCE COMPANY                                                           COMMITMENT NO.: 4300112206494

                                                             SCHEDULE B
                                                      EXCEPTIONS FROM COVERAGE

Commitment No.: 4300112206494                                                                 GF No.: SCT-47-4300112206494-MF

In addition to the Exclusions and Conditions and Stipulations, your Policy will not cover loss, costs, attorney’s fees, and
expenses resulting from:
1.         The following restrictive covenants of record itemized below (We must either insert specific recording data or
           delete this exception):

           under Clerk's File No(s). 201900253449 and 202100327172, Real Property Records, Dallas County, Texas


           Omitting any covenants or restrictions, if any, including but not limited to those based upon race, color, religion,
           sex, sexual orientation, familial status, marital status, disability, handicap, national origin, ancestry, or source of
           income, as set forth in applicable state or federal laws, except to the extent that said covenant or restriction is
           permitted by applicable law.

2.         Any discrepancies, conflicts, or shortages in area or boundary lines, or any encroachments or protrusions, or any
           overlapping of improvements.

3.         Homestead or community property or survivorship rights, if any of any spouse of any insured.

           (Applies to the Owner Policy only.)

4.         Any title or rights asserted by anyone, including, but not limited to, persons, the public, corporations, governments
           or other entities,

           a.         to tidelands, or lands comprising the shores or beds of navigable or perennial rivers and streams, lakes,
                      bays, gulfs or oceans, or

           b.         to lands beyond the line of the harbor or bulkhead lines as established or changed by any government, or

           c.         to filled-in lands, or artificial islands, or

           d.         to statutory water rights, including riparian rights, or

           e.         to the area extending from the line of mean low tide to the line of vegetation, or the rights of access to that
                      area or easement along and across that area.

                      (Applies to the Owner Policy only.)

5.         Standby fees, taxes and assessments by any taxing authority for the year 2022 and subsequent years; and
           subsequent taxes and assessments by any taxing authority for prior years due to change in land usage or
           ownership; but not those taxes or assessments for prior years because of an exemption granted to a previous
           owner of the property under Section 11.13, Texas Tax Code, or because of improvements not assessed for a
           previous tax years. (If Texas Short Form Residential Mortgagee Policy of Title Insurance (T-2R) is issued, that
           policy will substitute ''which become due and payable subsequent to Date of Policy'' in lieu of ''for the year 2022
           and subsequent years.'')

6.         The terms and conditions of the documents creating your interest in the land.

7.         Materials furnished or labor performed in connection with planned construction before signing and delivering the
           lien document described in Schedule A, if the land is part of the homestead of the owner. (Applies to the
           Mortgagee Title Policy Binder on Interim Construction Loan only, and may be deleted if satisfactory evidence is
           furnished to us before a binder is issued.)

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CHICAGO TITLE INSURANCE COMPANY                                                          COMMITMENT NO.: 4300112206494

                                                             SCHEDULE B
                                                      EXCEPTIONS FROM COVERAGE
                                                                (continued)


8.         Liens and leases that affect the title to the land, but that are subordinate to the lien of the insured mortgage.

           (Applies to Mortgagee Policy (T-2) only.)

9.         The Exceptions from Coverage and Express Insurance in Schedule B of the Texas Short Form Residential
           Mortgagee Policy of Title Insurance (T-2R). (Applies to Texas Short Form Residential Mortgagee Policy of Title
           Insurance (T-2R) only. Separate exceptions 1 through 8 of this Schedule B do not apply to the Texas Short Form
           Residential Mortgagee Policy of Title Insurance (T-2R).

10.        The following matters and all terms of the documents creating or offering evidence of the matters (We must insert
           matters or delete this exception):

           a.         All leases, grants, exceptions or reservations of coal, lignite, oil, gas and other minerals, together with all
                      rights, privileges, and immunities relating thereto, appearing in the Public Records whether listed in
                      Schedule B or not. There may be leases, grants, exceptions or reservations of mineral interest that are
                      not listed.

           b.         Those liens created at closing, if any, pursuant to lender instructions.

           c.         Rights of parties in possession.

           d.         Visible or apparent easement(s) and/or rights of way on, over, under or across the Land.

           e.         If any portion of the proposed loan and/or the Owner's Title Policy coverage amount includes funds for
                      immediately contemplated improvements, the following exceptions will appear in Schedule B of any policy
                      issued as indicated:

                      Owner and Loan Policy(ies): Any and all liens arising by reason of unpaid bills or claims for work
                      performed or materials furnished in connection with improvements placed, or to be placed, upon the
                      subject land. However, the Company does insure the insured against loss, if any, sustained by the Insured
                      under this policy if such liens have been filed with the County Clerk of County, Texas, prior to the date
                      hereof.

                      Owner Policy(ies) Only: Liability hereunder at the date hereof is limited to $ 0.00. Liability shall increase
                      as contemplated improvements are made, so that any loss payable hereunder shall be limited to said sum
                      plus the amount actually expended by the insured in improvements at the time the loss occurs. Any
                      expenditures made for improvements, subsequent to the date of this policy, will be deemed made as of
                      the date of this policy. In no event shall the liability of the Company hereunder exceed the face amount of
                      this policy. Nothing contained in this paragraph shall be construed as limiting any exception or any printed
                      provision of this policy.

                      Loan Policy(ies) Only: Pending disbursement of the full proceeds of the loan secured by the lien
                      instrument set forth under Schedule A hereof, this policy insures only to the extent of the amount actually
                      disbursed, but increase as each disbursement is made in good faith and without knowledge of any defect
                      in, or objections to, the title up to the face amount of the policy. Nothing contained in this paragraph shall
                      be construed as limiting any exception under Schedule B, or any printed provision of this policy.


           f.         The following exception will appear in any policy issued (other than the T-1R Residential Owner Policy of
                      Title Insurance and the T-2R Short-Form Residential Mortgagee Policy) if the Company is not provided a
                      survey of the Land, acceptable to the Company, for review at or prior to closing:


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CHICAGO TITLE INSURANCE COMPANY                                                           COMMITMENT NO.: 4300112206494

                                                             SCHEDULE B
                                                      EXCEPTIONS FROM COVERAGE
                                                                   (continued)

                      Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the title that
                      would be disclosed by an accurate and complete land survey of the Land.


           g.         Rights of tenants in possession, as tenants only, under unrecorded lease agreements.

           h.         Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for
                      dedication, on the map of said tract/plat;

                      Purpose:

                      Corner clip, ten feet by ten feet (10' x 10') near southeast corner;

                      Eight foot (8') street easement along Northeast portion of the property line;

                      Three foot (3') street easement along western most property line; and

                      Fifteen foot (15') utility along southern property line.

                      Recording No:               Volume 2003162, Page 48, Real Property Records, Dallas County, Texas

           i.         Easement(s) and rights incidental thereto, as granted in a document:

                      Granted to:          City of Dallas
                      Purpose:             As provided in said document
                      Recording Date:      October 23, 1953
                      Recording No:        Volume 3936, Page 472, Real Property Records, Dallas County, Texas, shown on
                      plat recorded in Volume 2003162, Page 48, Real Property Records, Dallas County, Texas

           j.         Easement(s) and rights incidental thereto, as granted in a document:

                      Granted to:          City of Dallas
                      Purpose:             As provided in said document
                      Recording Date:      September 21, 1960
                      Recording No:        Volume 5413, Page 660, Real Property Records, Dallas County, Texas, shown on
                      plat recorded in Volume 2003162, Page 48, Real Property Records, Dallas County, Texas

           k.         Easement(s) and rights incidental thereto, as granted in a document:

                      Granted to:        City of Dallas
                      Purpose:           As provided in said document
                      Recording Date:    November 1, 1960
                      Recording No:      Volume 5450, Page 72, Real Property Records, Dallas County, Texas, shown on plat
                      recorded in Volume 2003162, Page 48, Real Property Records, Dallas County, Texas




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CHICAGO TITLE INSURANCE COMPANY                                                         COMMITMENT NO.: 4300112206494

                                                            SCHEDULE C

Commitment No.: 4300112206494                                                                 GF No.: SCT-47-4300112206494-MF

Your Policy will not cover loss, costs, attorneys' fees, and expenses resulting from the following requirements that will
appear as Exceptions in Schedule B of the Policy, unless you dispose of these matters to our satisfaction, before the date
the Policy is issued:

1.         Documents creating your title or interest must be approved by us and must be signed, notarized and filed for
           record.

2.         Satisfactory evidence must be provided that:

           a.         no person occupying the land claims any interest in that land against the persons named in paragraph 3 of
                      Schedule A,

           b.         all standby fees, taxes, assessments and charges against the property have been paid,

           c.         all improvements or repairs to the property are completed and accepted by the owner, and that all
                      contractors, sub-contractors, laborers and suppliers have been fully paid, and that no mechanic's,
                      laborer's or materialmen's liens have attached to the property,

           d.         there is legal right of access to and from the land,

           e.         (on a Mortgagee Policy only) restrictions have not been and will not be violated that affect the validity and
                      priority of the insured mortgage.

3.         You must pay the seller or borrower the agreed amount for your property or interest.

4.         Any defect, lien or other matter that may affect title to the land or interest insured, that arises or is filed after the
           effective date of this Commitment.

5.         Prior approval from Regional Underwriting must be obtained if the subject transaction involves the proposed
           issuance of (i) an Owner’s Policy to a person or entity who purchased the subject property at a foreclosure sale, or
           (ii) a Loan Policy insuring a lien granted by such person or entity on the subject property.

6.         As to any document creating your title or interest that will be executed or recorded electronically, or notarized
           pursuant to an online notarization, the following requirements apply:

           • Confirmation prior to closing that the County Clerk of Dallas County, Texas has approved and authorized
           electronic recording of electronically signed and notarized instruments in the form and format that is being used.

           • Electronic recordation of the instruments to be insured in the Official Public Records of Dallas County, Texas.

           • Execution of the instruments to be insured pursuant to the requirements of the Texas Uniform Electronic
           Transactions Act, Chapter 322 of the Business and Commerce Code.

           • Acknowledgement of the instruments to be insured by a notary properly commissioned as an online notary public
           by the Texas Secretary of State with the ability to perform electronic and online notarial acts under 1 TAC Chapter
           87.

7.         The Company and its policy issuing agents are required by Federal law to collect additional information about
           certain transactions in specified geographic areas in accordance with the Bank Secrecy Act. If this transaction is
           required to be reported under a Geographic Targeting Order issued by FinCEN, the Company or its policy issuing
           agent must be supplied with a completed ALTA Information Collection Form ("ICF") prior to closing the transaction
           contemplated herein.

8.         A deed of trust to secure an indebtedness in the amount shown below,

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CHICAGO TITLE INSURANCE COMPANY                                                        COMMITMENT NO.: 4300112206494

                                                             SCHEDULE C
                                                                (continued)


           Amount:                     $32,500,000.00
           Dated:                      September 20, 2019
           Trustor/Grantor:            MO 2999TC, LLC, a Delaware limited liability company
           Trustee:                    Michael B. Massey
           Beneficiary:                2999 Turtle Creek LLC, a Delaware limited liability company
           Loan No.:                   n/a
           Recording Date:             September 23, 2019
           Recording No:               under Clerk's File No. 201900253450, Real Property Records, Dallas County, Texas

           Assignment of Rents and Leases

           Assigned to:                2999 Turtle Creek LLC
           Assigned by:                MO 2999TC, LLC
           Recording Date:             September 23, 2019
           Recording No:               under Clerk's File No. 201900253451, Real Property Records, Dallas County, Texas

           An assignment of the beneficial interest under said deed of trust which names:

           Assignee:                   HNGH Turtle Creek, LLC
           Loan No.:                   n/a
           Recording Date:             December 8, 2020
           Recording No:               under Clerk's File No. 202000341904, Real Property Records, Dallas County, Texas

           An assignment of the beneficial interest under said deed of trust which names:

           Assignee:                   Happy State Bank
           Loan No.:                   n/a
           Recording Date:             December 8, 2020
           Recording No:               under Clerk's File No. 202000341906, Real Property Records, Dallas County, Texas

           Appointment of Substitute Trustee

           Recording Date:             July 6, 2020
           Recording No.:              under Clerk's File No. 202000168289, Real Property Records, Dallas County, Texas

           Notice of Foreclosure

           Recording Date:             August 10, 2020
           Recording No.:              under Clerk's File No. 202000206703, Real Property Records, Dallas County, Texas

           Appointment of Substitute Trustee

           Recording Date:             August 10, 2020
           Recording No.:              under Clerk's File No. 202000206704, Real Property Records, Dallas County, Texas

9.         A financing statement as follows:

           Debtor:                     MO 2999TC, LLC
           Secured Party:              2999 Turtle Creek LLC
           Recording Date:             September 23, 2019
           Recording No:               under Clerk's File No. 201900253452, Real Property Records, Dallas County, Texas

           A change to the above financing statement was filed


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CHICAGO TITLE INSURANCE COMPANY                                                          COMMITMENT NO.: 4300112206494

                                                            SCHEDULE C
                                                                  (continued)

           Nature of Change: Assignment
           Recording Date:   December 8, 2020
           Recording No:     under Clerk's File No. 202000341907, Real Property Records, Dallas County, Texas

           A change to the above financing statement was filed

           Nature of Change: Amendment
           Recording Date:   December 8, 2020
           Recording No:     under Clerk's File No. 202000341908, Real Property Records, Dallas County, Texas

10.        A pending court action as disclosed by a recorded lis pendens notice:

           Plaintiff:           2999TC Acquisitions, LLC
           Defendant:           HNGH Turtle Creek, LLC
           County:              Dallas
           Court:               US Bankruptcy Court for the Northern District of Texas (Dallas Division)
           Cause No.:           21-31954-hdh11
           Nature of Action:    set aside deed, void the deed and avoid the transfer of property via deed recorded under
           Clerk's File No. 202100327172, Real Property Records, Dallas County, Texas
           Attorney:            n/a
           Recording Date:      November 5, 2021
           Recording No:        under Clerk's File No. 202100333511, Real Property Records, Dallas County, Texas

           The suit must be dismissed with prejudice and the lis pendens notice must be released.

11.        2999TC Acquisitions, LLC f/k/a MO 2999TC, LLC, a Delaware limited liability company , subject to proceedings
           pending in the bankruptcy court where a petition for relief was filed.

           Name of Debtor:             2999TC Acquisitions, LLC
           Date of Filing:             October 29, 2021
           U.S. District Court:        Northern
           Case No:                    21-31954-hdh11

12.        The Company will require the following documents for review prior to the issuance of any title insurance predicated
           upon a conveyance or encumbrance from the entity named below.

           Limited Liability Company: 2999TC Acquisitions, LLC f/k/a MO 2999TX LLC, a Delaware limited liability company

           a. A copy of its operating agreement, if any, and any and all amendments, supplements and/or
              modifications thereto, certified by the appropriate manager or member.

           b. If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment
              thereto with the appropriate filing stamps.

           c.   If the Limited Liability Company is member-managed a full and complete current list of members
                certified by the appropriate manager or member.

           d. A current dated certificate of good standing from the proper governmental authority of the state in which
              the entity was created

           e. If less than all members, or managers, as appropriate, will be executing the closing documents,
              furnish evidence of the authority of those signing.

           The Company reserves the right to add additional items or make further requirements after review of the
           requested documentation.

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CHICAGO TITLE INSURANCE COMPANY                                                         COMMITMENT NO.: 4300112206494

                                                             SCHEDULE C
                                                                 (continued)


13.        The Company will require the following documents for review prior to the issuance of any title insurance predicated
           upon a conveyance or encumbrance from the entity named below.

           Limited Liability Company: HNGH Turtle Creek, LLC, a Texas limited liability company

           a. A copy of its operating agreement, if any, and any and all amendments, supplements and/or
              modifications thereto, certified by the appropriate manager or member.

           b. If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment
              thereto with the appropriate filing stamps.

           c.   If the Limited Liability Company is member-managed a full and complete current list of members
                certified by the appropriate manager or member.

           d. A current dated certificate of good standing from the proper governmental authority of the state in which
              the entity was created

           e. If less than all members, or managers, as appropriate, will be executing the closing documents,
              furnish evidence of the authority of those signing.

           The Company reserves the right to add additional items or make further requirements after review of the
           requested documentation.

14.
14.        The following note is for informational purposes only:

           The following deed(s) affecting said land were recorded within twenty-four (24) months of the date of this report:

           Grantor:                    2999TC Acquisitions, LLC f/k/a MO 2999TC, LLC, a Delaware limited liability company
           Grantee:                    HNGH Turtle Creek, LLC, a Texas limited liability company
           Recording Date:             November 1, 2021
           Recording No:               under Clerk's File No. 202100327172, Real Property Records, Dallas County, Texas

           Deed found of record affecting the Land was recorded September 23, 2019 at under Clerk's File No.
           201900253449, Real Property Records, Dallas County, Texas, wherein the grantee acquired the subject property.

15.        The Company must be furnished with a properly executed Affidavit of Debts and Liens from the owner(s).

16.        The Company must be furnished with a properly executed Waiver of Inspection from the purchaser(s).

17.        This file must be updated prior to closing.




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CHICAGO TITLE INSURANCE COMPANY                                                              COMMITMENT NO.: 4300112206494

                                                             SCHEDULE D

Commitment No.: 4300112206494                                                                          GF No.: SCT-47-4300112206494-MF

Pursuant to the requirements of Rule P-21, Basic Manual of Rules, Rates and Forms for the writing of Title Insurance in the State of Texas, the
following disclosures are made:
1.   The issuing Title Insurance Company, Chicago Title Insurance Company, is a corporation whose shareholders owning or controlling,
     directly or indirectly, 10% of said corporation, directors and officers are listed below:
     Shareholders: Fidelity National Title Group, Inc. which is owned 100% by FNTG Holdings, LLC which is owned 100% by Fidelity National
                   Financial, Inc.
     Directors: Raymond Randall Quirk, Anthony John Park, Marjorie Nemzura, Michael J. Nolan, Edson N. Burton, Jr.
     Officers:     Raymond Randall Quirk (President), Anthony John Park (Executive Vice President), Marjorie Nemzura (Secretary), Daniel
                   Kennedy Murphy (Treasurer)
2.   The following disclosures are made by the Title Insurance Agent issuing this Commitment:
     Chicago Title of Texas, LLC
     (a) A listing of each shareholder, owner, partner, or other person having, owning or controlling one percent (1%) or more of the Title
         Insurance Agent that will receive a portion of the premium.
           Owners:       FNTS Holdings, LLC owns 100% of Alamo Title Holding Company, which owns 100% of Chicago Title of Texas, LLC
     (b) A listing of each shareholder, owner, partner, or other person having, owning or controlling 10 percent (10%) or more of an entity that
         has, owns or controls one percent (1%) or more of the Title Insurance Agent that will receive a portion of the premium.
           Owners:       FNTG Holdings, LLC owns 100% of FNTS Holdings, LLC
     (c) If the Agent is a corporation: (i) the name of each director of the Title Insurance Agent, and (ii) the names of the President, the
         Executive or Senior Vice-President, the Secretary and the Treasurer of the Title Insurance Agent.
           Officers: Raymond Randall Quirk (President), Brian K. Baize (President), Gayle Brand (President), Jennifer Clarke (President),
                     Michael J. DeBault (President), John Tannous (President), Anthony John Park (Executive Vice President and Chief
                     Financial Officer), Joseph William Grealish (Executive Vice President), John Ernst (Executive Vice President), Todd Rasco
                     (Executive Vice President), Jeffrey Colby (Senior Vice President), Winford Dubose (Vice President), Brewer Gregory (Vice
                     President), Marjorie Nemzura (Vice President and Secretary)
     (d) The name of any person who is not a full-time employee of the Title Insurance Agent and who receives any portion of the title
         insurance premium for services performed on behalf of the Title Insurance Agent in connection with the issuance of a title insurance
         form; and, the amount of premium that any such person shall receive. NONE.
     (e) For purposes of this paragraph 2, "having, owning or controlling" includes the right to receipt of a percentage of net income, gross
         income, or cash flow of the Agent or entity in the percentage stated in subparagraphs (a) or (b).

3.   You are entitled to receive advance disclosure of settlement charges in connection with the proposed transaction to which this commitment
     relates. Upon your request, such disclosure will be made to you. Additionally, the name of any person, firm or corporation receiving a
     portion of the premium from the settlement of this transaction will be disclosed on the closing or settlement statement.
     You are further advised that the estimated title premium* is:
         Loan Policy                                                                $    117,435.00
         Endorsement Charges                                                        $     11,768.50
                                                               Total                $    129,203.50
     Of this total amount: 15% will be paid to the policy issuing Title Insurance Company; 85% will be retained by the issuing Title Insurance
     Agent; and the remainder of the estimated premium will be paid to other parties as follows:
                                  Percent/Amount                   To Whom                                         For Services


     *The estimated premium is based upon information furnished to us as of the date of this Commitment for Title Insurance. Final
     determination of the amount of the premium will be made at closing in accordance with the Rules and Regulations adopted by the
     Commissioner of Insurance.




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                                         TEXAS TITLE INSURANCE INFORMATION

 Title insurance insures you against loss resulting from certain risks to your title.
 The commitment for Title Insurance is the title insurance company's promise to issue the title insurance policy.
 The commitment is a legal document. You should review it carefully to completely understand it before your
 closing date.

 El seguro de título le asegura en relación a perdidas resultantes de ciertos riesgos que pueden afectar el título
 de su propriedad.
 El Compromiso para Seguro de Título es la promesa de la compañía aseguradora de títulos de emitir la póliza
 de seguro de título. El Compromiso es un documento legal. Usted debe leerlo cuidadosamente y endenterlo
 complemente antes de la fecha para finalizar su transacción.

Your Commitment for Title insurance is a legal contract between you and us. The Commitment is not an opinion
or report of your title. It is a contract to issue you a policy subject to the Commitment's terms and requirements.

Before issuing a Commitment for Title Insurance (the Commitment) or a Title Insurance Policy (the Policy), the
Title Insurance Company (the Company) determines whether the title is insurable. This determination has already
been made. Part of that determination involves the Company's decision to insure the title except for certain risks
that will not be covered by the Policy. Some of these risks are listed in Schedule B of the attached Commitment as
Exceptions. Other risks are stated in the Policy as Exclusions. These risks will not be covered by the Policy. The
Policy is not an abstract of title nor does a Company have an obligation to determine the ownership of any mineral
interest.

         --MINERALS AND MINERAL RIGHTS may not be covered by the Policy. The Company may be unwilling
to insure title unless there is an exclusion or an exception as to Minerals and Mineral Rights in the Policy. Optional
endorsements insuring certain risks involving minerals, and the use of improvements (excluding lawns, shrubbery
and trees) and permanent buildings may be available for purchase. If the title insurer issues the title policy with an
exclusion or exception to the minerals and mineral rights, neither this Policy, nor the optional endorsements,
insure that the purchaser has title to the mineral rights related to the surface estate.

Another part of the determination involves whether the promise to insure is conditioned upon certain requirements
being met. Schedule C of the Commitment lists these requirements that must be satisfied or the Company will
refuse to cover them. You may want to discuss any matters shown in Schedules B and C of the Commitment with
an attorney. These matters will affect your title and your use of the land.

When your Policy is issued, the coverage will be limited by the Policy's Exceptions, Exclusions and Conditions,
defined below.

        ---EXCEPTIONS are title risks that a Policy generally covers but does not cover in a particular instance.
     Exceptions are shown on Schedule B or discussed in Schedule C of the Commitment. They can also be
     added if you do not comply with the Conditions section of the Commitment. When the Policy is issued, all
     Exceptions will be on Schedule B of the Policy.

         ---EXCLUSIONS are title risks that a Policy generally does not cover. Exclusions are contained in the
     Policy but not shown or discussed in the Commitment.

         ---CONDITIONS are additional provisions that qualify or limit your coverage. Conditions include your
     responsibilities and those of the Company. They are contained in the Policy but not shown or discussed in the
     Commitment. The Policy Conditions are not the same as the Commitment Conditions.




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                                         TEXAS TITLE INSURANCE INFORMATION
                                                      (Continued)


You can get a copy of the policy form approved by the Texas Department of Insurance by calling the Title
Insurance Company at 1-800-442-7067 or by calling the title insurance agent that issued the Commitment. The
Texas Department of Insurance may revise the policy form from time to time.

You can also get a brochure that explains the policy from the Texas Department of Insurance by calling
1-800-252-3439.

Before the Policy is issued, you may request changes in the policy. Some of the changes to consider are:

         ---Request amendment of the "area and boundary" exception (Schedule B, paragraph 2). To get this
     amendment, you must furnish a survey and comply with other requirements of the Company. On the Owner's
     Policy, you must pay an additional premium for the amendment. If the survey is acceptable to the Company
     and if the Company's other requirements are met, your Policy will insure you against loss because of
     discrepancies or conflicts in boundary lines, encroachments or protrusions, or overlapping of improvements.
     The Company may then decide not to insure against specific boundary or survey problems by making special
     exceptions in the Policy. Whether or not you request amendment of the "area and boundary" exception, you
     should determine whether you want to purchase and review a survey if a survey is not being provided to you.

         ---Allow the Company to add an exception to "rights of parties in possession." If you refuse this exception,
     the Company or the title insurance agent may inspect the property. The Company may except to and not
     insure you against the rights of specific persons, such as renters, adverse owners or easement holders who
     occupy the land. The Company may charge you for the inspection. If you want to make your own inspection,
     you must sign a Waiver of Inspection form and allow the Company to add this exception to your Policy.

The entire premium for a Policy must be paid when the Policy is issued. You will not owe any additional premiums
unless you want to increase your coverage at a later date and the Company agrees to add an Increased Value
Endorsement.




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                                         DELETION OF ARBITRATION PROVISION
                                       (Not applicable to the Texas Residential Owner's Policy)

ARBITRATION is a common form of alternative dispute resolution. It can be a quicker and cheaper means to
settle a dispute with your Title Insurance Company. However, if you agree to arbitrate, you give up your right to
take the Title Insurance Company to court and your rights to discovery of evidence may be limited in the arbitration
process. In addition, you cannot usually appeal an arbitrator's award.

Your policy contains an arbitration provision (shown below). It allows you or the Company to require
arbitration if the amount of insurance is $2,000,000 or less. If you want to retain your right to sue the
Company in case of a dispute over a claim, you must request deletion of the arbitration provision before
the policy is issued. You can do this by signing this form and returning it to the Company at or before the
closing of your real estate transaction or by writing to the Company.

The arbitration provision in the Policy is as follows:

     "Either the Company or the Insured may demand that the claim or controversy shall be submitted to arbitration
     pursuant to the Title Insurance Arbitration Rules of the American Land Title Association ("Rules"). Except as
     provided in the Rules, there shall be no joinder or consolidation with claims or controversies of other persons.
     Arbitrable matters may include, but are not limited to, any controversy or claim between the Company and the
     Insured arising out of or relating to this policy, any service in connection with its issuance or the breach of a
     policy provision, or to any other controversy or claim arising out of the transaction giving rise to this policy. All
     arbitrable matters when the Amount of Insurance is $2,000,000 or less shall be arbitrated at the option of
     either the Company or the Insured, unless the Insured is an individual person (as distinguished from an
     Entity). All arbitrable matters when the Amount of Insurance is in excess of $2,000,000 shall be arbitrated only
     when agreed to by both the Company and the Insured. Arbitration pursuant to this policy and under the Rules
     shall be binding upon the parties. Judgment upon the award rendered by the Arbitrator(s) may be entered in
     any court of competent jurisdiction."



Signature                                                                     Date




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                                                      FIDELITY NATIONAL FINANCIAL
                                                             PRIVACY NOTICE
Effective January 1, 2021
Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, "FNF," "our," or "we")
respect and are committed to protecting your privacy. This Privacy Notice explains how we collect, use, and
protect personal information, when and to whom we disclose such information, and the choices you have about
the use and disclosure of that information.
A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the
privacy notice will be available on the subsidiary's website and this Privacy Notice does not apply.
Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
    demographic information (e.g., date of birth, gender, marital status);
    identity information (e.g. Social Security Number, driver's license, passport, or other government ID number);
    financial account information (e.g. loan or bank account information); and
    other personal information necessary to provide products or services to you.
We may collect Personal Information about you from:
 information we receive from you or your agent;
    information about your transactions with FNF, our affiliates, or others; and
    information we receive from consumer reporting agencies and/or governmental entities, either directly from
     these entities or through others.
Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online
service, or application (each an "FNF Website") from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
    browser version, language, and type;
    domain name system requests; and
    browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the
     pages within the FNF Website.
Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing
Information described above. We use Browsing Information for system administration, troubleshooting, fraud
investigation, and to improve our websites. Browsing Information generally does not reveal anything personal
about you, though if you have created a user account for an FNF Website and are logged into that account, the
FNF Website may be able to link certain browsing activity to your user account.
Other Online Specifics
Cookies. When you visit an FNF Website, a "cookie" may be sent to your computer. A cookie is a small piece of
data that is sent to your Internet browser from a web server and stored on your computer's hard drive. Information
gathered using cookies helps us improve your user experience. For example, a cookie can help the website load
properly or can customize the display page based on your browser type and user preferences. You can choose
whether or not to accept cookies by changing your Internet browser settings. Be aware that doing so may impair
or limit some functionality of the FNF Website.
Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This
information is used to improve our websites.
Do Not Track. Currently our FNF Websites do not respond to "Do Not Track" features enabled through your
browser.
Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible
for the privacy practices or content of those websites. We recommend that you read the privacy policy of every
website you visit.

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Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
    To improve our products and services.
    To communicate with you about our, our affiliates', and others' products and services, jointly or independently.
When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
    to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to
     use the information only to provide such services or functions;
    to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement
     with them to jointly market financial products or services to you;
    to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court
     order; or
    in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to
     protect the rights, property, or safety of FNF, its customers, or the public.
The law does not require your prior authorization and does not allow you to restrict the disclosures described
above. Additionally, we may disclose your information to third parties for whom you have given us authorization or
consent to make such disclosure. We do not otherwise share your Personal Information or Browsing Information
with nonaffiliated third parties, except as required or permitted by law. We may share your Personal Information
with affiliates (other companies owned by FNF) to directly market to you. Please see "Choices with Your
Information" to learn how to restrict that sharing.
We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in
connection with the sale or other disposition of all or part of the FNF business and/or assets, or in the event of
bankruptcy, reorganization, insolvency, receivership, or an assignment for the benefit of creditors. By submitting
Personal Information and/or Browsing Information to FNF, you expressly agree and consent to the use and/or
transfer of the foregoing information in connection with any of the above described proceedings.
Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.
Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an
"opt out" request as directed at the end of this Privacy Notice. We do not share your Personal Information with
nonaffiliates for their use to direct market to you without your consent.
Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not
to submit Personal Information or Browsing Information, FNF may not be able to provide certain services or
products to you.
For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
third parties, except as permitted by California law. For additional information about your California privacy rights,
please visit the "California Privacy" link on our website (https://fnf.com/pages/californiaprivacy.aspx) or call
(888) 413-1748.
For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by
contacting us via the information set forth at the end of this Privacy Notice. Nevada law requires that we also
provide you with the following contact information: Bureau of Consumer Protection, Office of the Nevada
Attorney General, 555 E. Washington St., Suite 3900, Las Vegas, NV 89101; Phone number: (702) 486-3132;
email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
third parties for marketing purposes, except after you have been informed by us of such sharing and had an
opportunity to indicate that you do not want a disclosure made for marketing purposes.



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For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not
disclose your personal information, financial information, credit report, or health information to nonaffiliated third
parties to market to you, other than as permitted by Vermont law, unless you authorize us to make those
disclosures.
Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18). We do not
collect Personal Information from any person that we know to be under the age of thirteen (13) without permission
from a parent or guardian.
International Users
FNF's headquarters is located within the United States. If you reside outside the United States and choose to
provide Personal Information or Browsing Information to us, please note that we may transfer that information
outside of your country of residence. By providing FNF with your Personal Information and/or Browsing
Information, you consent to our collection, transfer, and use of such information in accordance with this Privacy
Notice.
FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect
customer information on behalf of mortgage loan servicers (the "Service Websites"). The Service Websites may
contain links to both this Privacy Notice and the mortgage loan servicer or lender's privacy notice. The sections of
this Privacy Notice titled When Information is Disclosed, Choices with Your Information, and Accessing and
Correcting Information do not apply to the Service Websites. The mortgage loan servicer or lender's privacy
notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal
Information collected through the Service Websites, except as required or authorized by contract with the
mortgage loan servicer or lender, or as required by law or in the good-faith belief that such disclosure is
necessary: to comply with a legal process or applicable law, to enforce this Privacy Notice, or to protect the rights,
property, or safety of FNF or the public.
Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of
the information in accordance with this Privacy Notice. We may change this Privacy Notice at any time. The
Privacy Notice's effective date will show the last date changes were made. If you provide information to us
following any change of the Privacy Notice, that signifies your assent to and acceptance of the changes to the
Privacy Notice.
Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for
affiliate marketing, visit FNF's Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:
                                                      Fidelity National Financial, Inc.
                                                          601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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 Exhibit 3    Email
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